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              EXHIBIT 3

PUBLIC REDACTED VERSION
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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA




ANIBAL RODRIGUEZ, SAL CATALDO,                  No. 3:20-cv-04688-RS
JULIAN SANTIAGO, and SUSAN LYNN
HARVEY, individually and on behalf of all
other similarly situated,

                            Plaintiffs

v.

GOOGLE LLC,

                            Defendant.




       REBUTTAL EXPERT REPORT OF CHRISTOPHER R. KNITTEL, PH.D.



                                         May 31, 2023
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I.     INTRODUCTION

       A.      Qualifications

       1.      My name is Christopher Knittel. I am the George P. Shultz Professor of Energy

Economics and Professor of Applied Economics in the Sloan School of Management at the

Massachusetts Institute of Technology (“MIT”). I received a Ph.D. in economics from the

University of California, Berkeley in 1999 where my fields of specialization were industrial

organization and econometrics. In 1996, I received a Master of Arts in economics from the

University of California, Davis. In 1994, I received a Bachelor of Arts, summa cum laude, in

Economics and Political Science, from the California State University, Stanislaus.

       2.      I am the Director of MIT’s Center for Energy and Environmental Policy Research

(“CEEPR”). CEEPR was formed in the 1970s and is the hub for social science work on energy

and the environment at MIT. I am also the Deputy Director for Policy of the MIT Energy

Initiative, which serves as MIT’s hub for energy research, education, and outreach.

       3.      I am a Research Associate at the National Bureau of Economic Research in the

Industrial Organization, Productivity, and Environment and Energy Economics programs. I co-

direct the Environmental and Energy Economics program within the NBER. I am also an

Associate Editor of the Journal of Transportation Economics and Policy. I was previously the

co-editor of the Journal of Public Economics and Associate Editor of the Journal of Energy

Markets, the American Economic Journal: Economic Policy, and the Journal of Industrial

Economics. I have also sat on the outside review committee for the National Science

Foundation’s Social and Economic Science grant program.




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        4.       My research focuses on how consumers, firms, and policy makers interact in the

marketplace; this is known as industrial organization. I have authored numerous articles on

topics related to consumer and firm behavior in various markets. These articles have appeared in

many leading academic journals, including American Economic Review, Journal of Political

Economy, Review of Economics and Statistics, American Economic Journal: Economic Policy,

Energy Economics, Journal of Industrial Economics, the RAND Journal of Economics, the

Journal of Banking and Finance, and Management Science.

        5.       A copy of my complete curriculum vitae is attached as Appendix A, which

includes all trial or deposition testimony I have given in the last four years.


        B.       Assignment

        6.       I have been retained by Willkie Farr & Gallagher LLP (“counsel”) on behalf of

Google, LLC (“Google” or “Defendant”) in connection with the matter of Anibal Rodriguez, et

al., v. Google LLC, pending in the United States District Court for the Northern District of

California.1 I have been asked to review the expert report of Michael J. Lasinski, who has

submitted an expert report on behalf of Anibal Rodriguez, Sal Cataldo, Julian Santiago, and

Susan Lynn Harvey (collectively, “Plaintiffs”), and to provide my expert opinion as to

Mr. Lasinski’s methodologies to calculate class-wide damages in this matter and his damages

estimates themselves.2




1
    Anibal Rodriguez, Sal Cataldo, Julian Santiago, and Susan Lynn Harvey, individually and on behalf of all other
    similarly situated, v. Google, LLC, Fourth Amended Complaint, 3:20-cv-04688-RS, January 4, 2023
    (“Complaint”).
2
    See Expert Report of Michael J. Lasinski, February 20, 2023 (“Lasinski Report”). My decision not to respond
    specifically to any of Plaintiffs’ experts’ opinions in this report should not be construed as an endorsement of
    that opinion.


                                                         2
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       C.      Report Preparation

       7.      My billing rate for time spent on this matter is $950 per hour. In addition, I

receive compensation based on the professional fees of Analysis Group, Inc., an economic and

litigation consulting firm whose employees have provided research support under my direction

and supervision. Neither my compensation nor that of Analysis Group is in any way contingent

on the nature of my opinions or the outcome of this litigation.

       8.      In forming my opinions, I have reviewed materials, data, and information

provided to me by counsel or obtained from public sources. These materials include, among

others, the Fourth Amended Complaint, the Lasinski Report, the documents Mr. Lasinski lists or

cites in his report, certain documents the parties produced in the case, deposition testimony of

various Google employees and named Plaintiffs, and various data and publications from publicly

available sources. The facts and data that I have considered in forming my opinions are identified

in this report, the accompanying exhibits, and/or Appendix B.

       9.      I understand that discovery in this matter is ongoing. I reserve the right to adjust

or supplement my opinions as appropriate and permitted by the Court should additional relevant

documents or data become available.


II.    SUMMARY OF OPINIONS

       10.     Based on my professional experience, scholarly research, and review and analysis

of the data and documents in this matter to date, I have reached the following opinions. A full

description of my opinions is contained throughout this report, including the accompanying

exhibits.




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    a. Mr. Lasinski’s estimates of disgorgement of profit and “actual” damages include

       many putative class members who could not have been affected by the alleged

       wrongful conduct (i.e., Google’s alleged tracking of certain users’ app-activity

       data without the users’ consent) because he fails to exclude users that did not

       allow Google to know their sWAA on/off status. Notably, this includes all users

       of iOS 14 or later.

    b. The testimony of named Plaintiffs is inconsistent with Mr. Lasinski’s

       methodology to calculate class-wide damages.

    c. Mr. Lasinski’s disgorgement of profit damages analysis assumes unrealistic and

       unnecessarily restrictive but-for worlds that lead him to overstate damages. Mr.

       Lasinski fails to consider alternative, plausible, and more realistic but-for worlds.

           i. Mr. Lasinski ignores the change in demand and revenue that Google

               would have experienced in a but-for world with alternative disclosures on

               how turning sWAA off does not opt the user out of conversion

               measurement in third-party apps.

           ii. Mr. Lasinski ignores that third parties could continue to provide

               conversion measurement services in the but-for world.

    d. Mr. Lasinski’s methodology for calculating disgorgement of profit damages rests

       on unreliable assumptions, and as a result Mr. Lasinski overstates damages.

           i. Mr. Lasinski incorrectly assumes that all putative class members suffered

               harm in equal manner. He fails to account for lower account activity—and,

               consequently, lower revenue—associated with accounts that turned sWAA

               off.




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           iii. Mr. Lasinski fails to exclude users associated with no traffic or revenue.

           iv. Mr. Lasinski presents no economic basis for his “actual” damages estimate

               of $3 per device per putative class member.

            v. Mr. Lasinski’s examples of users’ willingness to pay to prevent data

               collection and research organizations’ payments for data collection do not

               measure the value of the data at issue in this matter and are disconnected

               from any case-specific facts.

           vi. Mr. Lasinski fails to provide sufficient foundation or economic analysis

               for his estimate of the size of the putative class.

     f. Mr. Lasinski’s methodology for apportioning damages is unreliable.

            i. Mr. Lasinski’s apportionment methodology is inconsistent with his own

               methodology to calculate damages. Mr. Lasinski proposes apportioning

               damages commensurate with the number of months during which an

               account was in sWAA-off status, whereas his damages methodology

               completely ignores this duration measure.

            ii. Mr. Lasinski’s methodology to apportion disgorgement of profit damages

               and “actual” damages ignores heterogeneity among putative class

               members with respect to the volume and quality of data at issue

               purportedly received by Google.

           iii. Mr. Lasinski provides no methodology to attribute his measured

               “sWAA Off User Months” to each putative class member.




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III.       SUMMARY OF ALLEGATIONS

           11.      Plaintiffs allege that Google “collects and saves users’ app-activity data” and does

so “without notice or consent, where Plaintiffs had turned off a Google feature called ‘Web &

App Activity’ (‘WAA’) or a sub-setting within WAA known as ‘supplemental Web & App

Activity’ (‘sWAA’).”4 Plaintiffs claim that “Google repeatedly and falsely represented that its

users […] could prevent Google from intercepting their communications by turning off WAA

and/or sWAA.”5 Plaintiffs claim that users relying on these representations “had the objectively

reasonable belief that Google would stop collecting their communications and other interactions

with apps on their phones – ‘across [Google’s] services’ – if the users turned the WAA and/or

sWAA switch to ‘off.’”6

           12.      According to Plaintiffs, “[i]n or before 2015, Google launched the ‘Web & App

Activity’ feature” for Google accounts, which users can access “through Google’s website, and

through the ‘Settings’ menu of a mobile device running Android OS.”7 The WAA feature can be

toggled on and off and is displayed above the following text: “Saves [to a user’s Google account]

your activity on Google sites and apps, including associated info like location, to give you faster

searches, better recommendations, and more personalized experiences in Maps, Search, and

other Google services.”8 Below the WAA toggle, there is a separate checkbox, referred to as the

sWAA feature, providing the option to “[i]nclude Chrome history and activity from sites, apps,



4
       Complaint, ¶¶ 1, 4.
5
       Complaint, ¶ 210.
6
       Complaint, ¶ 96.
7
       Complaint, ¶¶ 74–75.
8
       Complaint, “Screen 2” image at p. 22. Google’s disclosures to users specified that searches and activity from
       Google services would be “saved in your Google Account, so you may get more personalized experiences.” See
       “See & control your Web & App Activity,” Google Search Help, March 7, 2020, available at
       https://web.archive.org/web/20200307144113/https://support.google.com/websearch/answer/54068?hl=en&co=
       GENIE.Platform%3DAndroid (accessed using the Wayback Machine).


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and devices that use Google services.”9 For sWAA to be turned on, WAA must also be on, but a

user can turn WAA on and have sWAA either on or off.10 That is, users must share their Google

site and app activity (i.e., turn WAA on) to share their Chrome activity, but users may opt not to

share their Chrome activity if they share their Google site and app activity (i.e., turn WAA on

and sWAA off). At issue in this case are “app activity data” that Google allegedly collected

“while WAA is turned off, including personal browsing data,” despite Google’s alleged promise

“that by turning off this feature, users would stop Google from saving their web and app activity

data, including their app-browsing histories” to their Google account for providing personalized

experiences.11

         13.      Specifically, Plaintiffs claim that Google collects and saves such data through the

following Google products:12

               a. Firebase Software Development Kit (“SDK”): Firebase is “an app development

                  platform” “[b]acked by Google” that offers software development kits (“SDKs”)

                  for third-party developers to develop apps across many platforms, including the

                  Android and iOS operating systems and web.13 The Firebase SDK can be

                  integrated and used with other Google products such as the Google Play store,

                  Google’s web analytics platform Google Analytics, Google’s advertising platform

                  for mobile apps AdMob, and Google Cloud.14 Plaintiffs allege that “Google

                  intercepts and copies [communications between users and third-party apps] using


9
     Complaint, ¶ 78.
10
     Complaint, ¶ 78.
11
     Complaint, ¶¶ 1, 8.
12
     In addition to the Google products summarized here, Plaintiffs also mention the “Google Analytics Services
     SDK” and the “Google Ads SDK (formerly known as AdWords SDK or AWCT SDK)” (Complaint, ¶ 4) and
     “WebView” (Complaint, ¶ 68). The Lasinski Report does not reference these three products.
13
     “Firebase,” Firebase, available at https://firebase.google.com/. See also Complaint, ¶¶ 39, 47.
14
     “Firebase,” Firebase, available at https://firebase.google.com/. See also Complaint, ¶ 41.


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                 the Firebase SDK scripts, even when the user has exercised their privacy controls

                 by turning WAA and/or sWAA off.”15 These communications include the user

                 “viewing content, creating new content, or sharing content,” and the data

                 allegedly collected include information “such as the mobile app page being

                 requested and the device from which the request is being made.”16

             b. AdMob+ SDK: Plaintiffs also allege that “one additional tracking and advertising

                 code that Google uses to collect and save information about users’ app-activity

                 data – regardless of whether WAA or sWAA is switched off – is Google’s

                 AdMob+ SDK.”17 Plaintiffs describe the AdMob+ SDK as “an upgraded version

                 of Google’s AdMob product that allows Google to collect and save the same user

                 app -activity [sic] data even with respect to apps that do not use the Firebase

                 SDK.”18

             c. Google Mobile Ads SDK: Plaintiffs claim that “[b]y way of the Google Mobile

                 Ads SDK, Google collects and saves data entirely separate from the data that

                 Google collects and saves by way of Google’s Firebase SDK scripts.”19

                 Specifically, these data include “information about ad impressions – when an app

                 displays an ad to a user” and “ad clicks, meaning information about when a user

                 clicks on a particular ad.”20 Plaintiffs allege that “Google collects this app-activity




15
     Complaint, ¶ 48.
16
     Complaint, ¶¶ 49–50.
17
     Complaint, ¶ 60.
18
     Complaint, ¶ 63.
19
     Complaint, ¶ 64.
20
     Complaint, ¶ 66.


                                                    9
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                  information from the user and her device and uses it to serve advertisements to the

                  user notwithstanding whether the user has switched off WAA and/or sWAA.”21

         14.      Plaintiffs allege that Google “includes in its user profiles data secretly transmitted

to Google from consumer devices by Google tracking and advertising code during times that the

user had switched off WAA and/or sWAA,” and that Google uses these data “to more effectively

target advertisements to these users.”22

         15.      Plaintiffs bring these allegations on their own behalf and on behalf of two

proposed classes. Class 1 consists of “[a]ll individuals who during the [proposed] Class Period

(a) turned off ‘Web & App Activity,’ or supplemental ‘Web & App Activity,’ and (b) whose

mobile app activity was still transmitted to Google, from (c) a mobile device running the

Android operating system (OS), because of the Firebase SDK and/or AdMob SDKs, on a non-

Google branded mobile app.”23 Class 2 consists of all individuals who meet all other criteria for

Class 1 but whose data was transmitted from “(c) a mobile device running a non-Android

operating system (OS).”24 Plaintiffs’ proposed class period is defined as beginning “on the date

Google first received data, as a result of Firebase SDK and/or AdMob SDKs scripts, from the

device of a user who had turned off (or paused) WAA and/or sWAA” and continuing “through

the present.”25

         16.      Plaintiffs allege that “[d]espite Google’s false representations to the contrary,

Google effectively charged Plaintiffs, [putative] Class members, and other consumers and

Google was unjustly enriched, by acquiring their sensitive and valuable personal information


21
     Complaint, ¶ 67.
22
     Complaint, ¶ 143.
23
     Complaint, ¶ 249.
24
     Complaint, ¶ 249.
25
     Complaint, ¶ 249.


                                                    10
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without permission and using it for Google’s own financial benefit, including to advance its

advertising business.”26 Plaintiffs claim that Google “effectively charged” them and other

putative class members by using their data for free. In particular, Plaintiffs argue that “Google’s

ill-gotten gains include, but are not limited to, profit earned from: serving advertisements to

WAA-off users, measuring advertisements’ effect on WAA-off users’ behavior, and developing

and refining Google products using data saved from WAA-off users.”27 Based on these claims,

Plaintiffs argue that “Plaintiffs and the [putative] Class members […] are entitled to reasonable

compensation including but not limited to disgorgement of profit related to the [allegedly]

unlawful internet tracking.”28

          17.     Further, Plaintiffs allege that “Plaintiffs and [putative] Class members have been

damaged by Google’s invasion of their privacy and are entitled to just compensation and

injunctive relief.”29 Specifically, Plaintiffs argue that “[putative] Class members […] assign

value to keeping their data private,” which “is destroyed when the Firebase SDK scripts and

other Google tracking and advertising code surreptitiously transmit users’ data to Google while

the users have turned off WAA and/or sWAA.”30


IV.       BACKGROUND

          18.     In this section, I provide an overview of certain aspects of the AdTech economy

that underlie my discussion of Mr. Lasinski’s proposed methodology to calculate class-wide

damages in this matter.




26
      Complaint, ¶ 264.
27
      Complaint, ¶ 267.
28
      Complaint, ¶ 301.
29
      Complaint, ¶ 289.
30
      Complaint, ¶ 179.


                                                  11
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         A.      Overview of the AdTech Economy

         19.     AdTech, short for “advertising technology,” is the name given to a set of

technologies that connect advertisers looking to promote their goods or services with apps or

websites that have space to display these advertisements.31 This ecosystem comprises several

entities that include the buy-side, the sell-side, and intermediaries known as ad exchanges. The

buy-side of the AdTech economy encompasses advertisers and agencies that want to purchase ad

space within apps or websites to promote their products or services. They often work with

Demand-Side Platforms (“DSPs”), which are used by advertisers to manage and purchase digital

ad inventory from multiple ad exchanges through one interface. On the opposite end, the sell-

side represents publishers or app developers who have ad inventory—spaces within their apps or

websites where ads can be displayed—to sell. They often work with Supply-Side Platforms

(“SSPs”), which enable publishers to manage, sell and optimize available ad inventory in an

automated and efficient way.32 An ad exchange is a digital marketplace where advertisers on the

buy-side and publishers on the sell-side meet.33 The ad exchange acts as the intermediary to

facilitate transactions between members of those two groups.34

         20.     Transactions in these digital marketplaces are generally conducted via auctions,

which can incorporate real-time bids from advertisers for each impression.35 These transactions

involve identifying the highest bid among advertisers for each available impression on each



31
     See, e.g., “What is adtech and why is it important?,” Amazon Ads, available at
     https://advertising.amazon.com/library/guides/what-is-adtech.
32
     See, e.g., “DSP, SSP, and Ad Exchange: What is the Difference?,” AARKI, available at
     https://www.aarki.com/insights/dsp-ssp-and-ad-exchange-what-is-the-difference.
33
     “The DoubleClick Ad Exchange,” Google, available at
     https://static.googleusercontent.com/media/www.google.com/en//adexchange/AdExchangeOverview.pdf.
34
     See, e.g., “DSP, SSP, and Ad Exchange: What is the Difference?,” AARKI, available at
     https://www.aarki.com/insights/dsp-ssp-and-ad-exchange-what-is-the-difference.
35
     See Section IV.C.


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publisher’s property for each user on that property. The use of technology and data to automate,

optimize and measure ad buying and placement processes, known as programmatic advertising,

has improved the scale and efficiency with which transactions take place.36 AdTech has also led

to advancements in user targeting, measuring audience behavior, and measuring ad effectiveness,

which have increased ad placement alternatives for advertisers beyond the traditional offline

world, while simultaneously allowing publishers to better monetize their online content through

the sale of user-specific ad space to advertisers who value it the most.37

         21.      AdTech providers include social media platforms such as Meta, TikTok,

LinkedIn, Snap, and Twitter; major retailers such as Amazon and Walmart; digital print

platforms such as Washington Post; search platforms such as Google and Bing; online video

platforms such as YouTube and Twitch; telecom providers such as AT&T and Verizon; and

connected TV platforms such as Hulu and Roku, to name a few. A vast array of intermediaries

support transactions, including ad exchanges, networks, sell-side platforms, demand-side

platforms and many others. These services have improved efficiency in AdTech, yielding greater

volumes of transactions that benefit advertisers and publishers, with increased ad targeting

capabilities.38


         B.       Overview of Relevant Google Advertising Services

         22.      Google provides a number of products and services that are relevant to

Mr. Lasinski’s proposed methodology to quantify disgorgement of profit.



36
     See “What is Programmatic Advertising and How Does It Work?,” Publift, February 3, 2023, available at
     https://www.publift.com/adteach/what-is-programmatic-advertising.
37
     See, e.g., “What is adtech and why is it important?,” Amazon Ads, available at
     https://advertising.amazon.com/library/guides/what-is-adtech.
38
     See, e.g., “What is adtech and why is it important?,” Amazon Ads, available at
     https://advertising.amazon.com/library/guides/what-is-adtech.


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              a. The Google Search Network is an ad network that consists of “a group of search-

                  related websites and apps” that provides advertisers with access to ad inventory

                  on Google Search sites and apps, and on Google search partner sites and apps.

                  Advertisers target their ads on the Google Search Network based on keywords.

                  Likewise, the Google Search Network enables Google Search sites and apps, and

                  Google search partner sites and apps to monetize search results.39

              b. Google Play is “an online store where people go to find […] apps, games,

                  movies, TV shows, books, and more.”40 Google Play is Google’s pre-installed app

                  store on Android-certified devices and ChromeOS.41 Developers and other

                  advertisers can use Google Ads to promote their apps on Google Play in “Google

                  Play search results[,] Google Play related apps section: ‘You might also like’ and

                  ‘Related to this app’ [, and] Google Play homepage: ‘Suggested for you.’”42

              c. The Google Display Network (“GDN”) is an ad network, accessible to

                  advertisers through Google Ads, including Google-owned properties Gmail,

                  YouTube and Google Finance.43 As opposed to text-based search ads, Google’s




39
     “About the Google Search Network,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/1722047. Ads can appear on Google Search sites (“Ads can appear above or below search results on
     Google Search. They can appear beside, above, or below search results on Google Play, the Shopping tab,
     Google Images, Google Maps, and the Maps app.”) or on Google search partner sites (“Ads might appear near
     or after search results of Google search partners or as part of a related search. Search partners include hundreds
     of non-Google websites as well as YouTube and other Google sites.”).
40
     “How Google Play works,” Google Play, available at https://play.google.com/about/howplayworks/.
41
     “Find the Google Play Store app,” Google Play Help, available at
     https://support.google.com/googleplay/answer/190860?hl=en; “Install and use Android apps on your
     Chromebook,” Google Play Help, available at https://support.google.com/googleplay/answer/7021273?hl=en.
42
     “About App campaigns,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/6247380?hl=en.
43
     “Reach a larger or new audience with Google Display Network targeting,” Google Ads, available at
     https://ads.google.com/intl/en_id/home/resources/reach-larger-new-audiences/; “Google Display Network and
     YouTube on computers, mobile devices, and tablets,” Google Ads Help, available at
     https://support.google.com/google-ads/answer/2740623?hl=en.


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                 Display Network is designed for ads that are typically image based, such as

                 banner and other image-based ads, native ads and social ads.44 Advertisers

                 typically use the Google Display Network to target ads according to customer

                 interests and audience demographics.45

             d. The Google AdMob network enables advertisers to access advertising inventory

                 in mobile apps and enables mobile app developers to generate revenue by

                 delivering in-app targeted advertising to their mobile app users on both Android

                 and iOS platforms.46 In addition to the advertisers aggregated by the AdMob ad

                 network, AdMob also facilitates access to third-party (non-Google) ad networks.47

             e. As Mr. Lasinski states in his report, app marketers can advertise in mobile apps

                 using Google App campaigns, also known internally within Google as App

                 Promo.48 There are three distinct campaign types, each with its own set of

                 conversions to monitor.49 App Install Campaigns prioritize measuring app installs

                 resulting from an app’s ads. Since downloading an app doesn’t guarantee usage,

                 measuring first opens is a primary metric for app install campaigns, advertisers

                 can measure this by measuring CPI, or cost-per-install. App Engagement


44
     “FAQ,” Google Ads, available at https://ads.google.com/intl/en_id/home/faq/; “About Display ads and the
     Google Display Network,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/2404190?hl=en.
45
     “Reach a larger or new audience with Google Display Network targeting,” Google Ads, available at
     https://ads.google.com/intl/en_id/home/resources/reach-larger-new-audiences/.
46
     “What is AdMob,” Google AdMob, available at https://admob.google.com/home/resources/what-is-admob/;
     “Compare Ad Manager, AdSense, and AdMob,” Google Ad Manager Help, available at
     https://support.google.com/admanager/answer/9234653?hl=en; “Get started with AdMob in your iOS project,”
     Firebase, available at https://firebase.google.com/docs/admob/ios/quick-start.
47
     “Compare Ad Manager, AdSense, and AdMob,” Google Ad Manager Help, available at
     https://support.google.com/admanager/answer/9234653?hl=en.
48
     Lasinski Report, ¶ 32.
49
     “About App campaigns,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/6247380?hl=en. See also “Simple guide to conversion tracking for Google App Campaigns,” App
     Radar, available at https://appradar.com/academy/google-app-campaign/conversion-tracking.


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                  Campaigns concentrate on the in-app actions of a firm’s existing users. Various

                  in-app action goals exist, such as event promotion or reactivating app usage. The

                  primary metric for engagement campaigns is CPA, or cost-per-action. App

                  Campaigns for Pre-registration leverage Google’s pre-registration feature,

                  promoting app awareness before it becomes available on the Google Play store.

                  The primary metric for such campaigns is CPPRE, or cost-per-pre-registration.

                  This campaign type requires an app to be available for pre-registration and is

                  applicable only for Android apps.50


         C.       Automated Bidding in Google’s Digital Advertising Platforms

         23.      Automated bidding is a method of buying and selling digital advertising space in

an ad exchange. The main providers of ad exchanges in the U.S. include Google, Meta, Amazon,

Adobe, and PubMatic.51 In 2021, Google accounted for 27.9 percent of U.S. digital advertising

revenue, followed by Meta with 22.8 percent, and Amazon with 10.9 percent.52

         24.      Advertisers typically bid for ad space by contacting a programmatic advertising

agency to assist them.53 The agency then uses a DSP to automate the process of purchasing ad




50
     “About App campaigns,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/6247380?hl=en. See also “Simple guide to conversion tracking for Google App Campaigns,” App
     Radar, available at https://appradar.com/academy/google-app-campaign/conversion-tracking.
51
     “Share of ad-selling companies in the total digital advertising revenue in the United States from 2020 to 2025,”
     Statista, May 2023, available at https://www.statista.com/statistics/242549/digital-ad-market-share-of-major-ad-
     selling-companies-in-the-us-by-revenue/; “Real Time Bidding Market,” Markets and Markets, March 2019,
     available at https://www marketsandmarkets.com/Market-Reports/real-time-bidding-market-4630735.html.
52
     “Share of ad-selling companies in the total digital advertising revenue in the United States from 2020 to 2025,”
     Statista, May 2023, available at https://www.statista.com/statistics/242549/digital-ad-market-share-of-major-ad-
     selling-companies-in-the-us-by-revenue/.
53
     See, e.g., “Partner with a creative agency to maximize your ad’s impact,” Google Ads, available at
     https://ads.google.com/home/resources/advanced/agency-directory/.


                                                         16
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impressions according to the targeted outreach of the advertiser. The DSP allows the agency to

purchase ad inventory from multiple publishers.54

          25.     From the publisher’s perspective, when a targeted participant lands on the

publisher’s website or application, the publisher uses an SSP to sell the advertising space or

advertising impression55 to several buyers connected to the SSP. The DSP evaluates the

advertising space and determines if it matches the target parameters of the advertiser before

formulating a bid price in an auction. When an impression is sold, the ad is sent to the

publisher’s website/application to be displayed. The advertising exchange functions as an online

“brokerage house” for digital advertising space, where the auction process is conducted in real

time.56

          26.     Google’s ad exchange includes the AdMob platform, where publishers primarily

target mobile users.57 Google AdMob provides app developers with a tool that matches ads with

their applications, and automatically handles logistics such as billing advertisers and networks

and paying the app developers.58




54
     “What Is Programmatic Advertising and How Does It Work?,” Publift, February 3, 2023, available at
     https://www.publift.com/adteach/what-is-programmatic-advertising; “What is Real-Time Bidding (RTB)?
     Definition and Importance,” Amazon Ads, available at https://advertising.amazon.com/library/guides/real-time-
     bidding.
55
     An advertising impression is a metric that measures the number of digital views or engagement with an
     advertisement. Impressions are typically quantified by cost per mille (“CPM”), which is the cost per 1,000
     impressions. A CPM of $4, means that a publisher receives $4 whenever an advertisement is displayed on their
     website/application 1,000 thousand times. Kenton, Will, “What Is an Impression in Online Advertising, How to
     Count Them,” Investopedia, January 4, 2023, available at
     https://www.investopedia.com/terms/i/impression.asp.
56
     “What Is Programmatic Advertising and How Does It Work?,” Publift, February 3, 2023, available at
     https://www.publift.com/adteach/what-is-programmatic-advertising; “What is Real-Time Bidding (RTB)?
     Definition and Importance,” Amazon Ads, available at https://advertising.amazon.com/library/guides/real-time-
     bidding.
57
     “Earn more revenue with your apps,” Google AdMob, available at https://admob.google.com/home/.
58
     “Earn more revenue with your apps,” Google AdMob, available at https://admob.google.com/home/; “How
     AdMob works,” Google AdMob Help, available at https://support.google.com/admob/answer/7356092?hl=en.


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         27.      Google’s ad exchange allows advertisers to manually bid for ad space by setting a

“maximum cost-per-click” that they are willing to pay if they win an auction.59 Google also

offers a range of automated bidding strategies to help advertisers bid based on their performance

goals. Google Ads automatically sets bids for the ads based on an assessment of the likelihood

that an ad will result in a click or other advertiser-defined conversion.60 Different types of

automated bidding strategies help advertisers increase clicks, visibility, and conversions.61 Types

of automated bidding strategies include:

               a. Maximize clicks: Set bids to get as many clicks as possible;

               b. Target impression share: Set bids to show the ads on top of the page for best

                  visibility;

               c. Target cost-per-action (“CPA”): Set bids to get as many conversions as possible at

                  the cost set by the advertiser;

               d. Target return on ad spend (“ROAS”): Set bids to get as much conversion value at

                  the target return on ad spend set by the advertiser;

               e. Maximize conversions / conversion value: Set bids to achieve maximum

                  conversion or conversion value (depending on the goal of the advertiser) within

                  the target budget.62




59
     “Manual CPC Bidding,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/2390250?hl=en.
60
     “Automated bid strategy: Definition,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/6325042?hl=en.
61
     “About automated bidding,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/2979071?hl=en.
62
     “About automated bidding,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/2979071?hl=en.


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         28.      Google refers to the strategies in (c) through (e) as “Smart Bidding” strategies, a

set of “strategies that use machine learning to optimize for conversions or conversion value” in

the auctions.63


         D.       Conversion Measurement in Digital Advertising

         29.      A key goal of advertising is to encourage consumers to take specific actions, such

as making a purchase, signing up for a newsletter, or downloading an app. The act of a user

completing these desired actions is typically referred to as a “conversion.”64 Measuring

conversions is essential for advertisers to optimize their strategies, allocate resources efficiently,

and maximize their return on investment.

         30.      Advertisers typically rely on multiple platforms or channels to reach their target

audiences and therefore need to measure the conversion performance of their campaigns across

all of those channels and platforms. By measuring conversion across multiple channels, they can

compare the effectiveness of different channels and make data-driven decisions about where to

allocate their resources for maximum impact.65 Although online conversion measurement is

more data-intensive and technologically advanced than earlier methods, marketers have long

attempted to evaluate the effectiveness of—and attribute business outcomes to—specific

marketing activities. For example, George Gallup and Daniel Starch tested recall in the early




63
     “Smart Bidding: Definition,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/7066642?hl=en.
64
     “About conversion tracking,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/1722022; “About mobile app conversion tracking,” Google Ads Help, available at
     https://support.google.com/google-ads/answer/6100665; “Conversion tracking: Definition,” Google Ads Help,
     available at https://support.google.com/google-ads/answer/6308?hl=en.
65
     See, e.g., “What is adtech and why is it important?,” Amazon Ads, available at
     https://advertising.amazon.com/library/guides/what-is-adtech.


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twentieth century by surveying people on the street and comparing their results to data on ad

circulation to measure the effectiveness of ads.66

         31.     In the context of Google’s mobile app campaigns, “conversion tracking” is a free

tool for advertisers that “shows you what happens after a customer interacts with your ads –

whether they purchased a product, signed up for your newsletter, called your business, or

downloaded your app.”67 In this context, “conversions” are counted when “someone interacts

with [an advertiser’s] ad” and takes an action defined by the advertiser, such as making a

purchase or downloading an app.68 Google notes that the benefits of conversion measurement to

advertisers include that advertisers can see “which keywords, ads, ad groups, and campaigns are

best at driving valuable customer activity,” and therefore understand their “return on investment

(ROI) and make better informed decisions about [their] ad spend.”69

         32.      Conversion measurement also allows advertisers to assess the performance of

their mobile app campaigns across various ad formats and targeting options. Google offers a

range of ad formats for app promotion and mobile app installs.70 By measuring conversions,

advertisers can determine which ad formats are most effective at driving the desired user actions

and allocate their budget accordingly. Additionally, Google’s mobile app campaigns allow

advertisers to target specific audience segments on Google’s properties, such as Search, Google




66
     Kierlanczyk, Kuba, “A Brief History of Market Research,” Kelton, February 4, 2016, available at
     https://www keltonglobal.com/perspectives/a-brief-history-of-market-research/.
67
     “About conversion tracking,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/1722022. Emphasis in original. See also “About mobile app conversion tracking,” Google Ads
     Help, available at https://support.google.com/google-ads/answer/6100665.
68
     “Conversion: Definition,” Google Ads Help, available at https://support.google.com/google-ads/answer/6365.
69
     “About conversion tracking,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/1722022.
70
     “About mobile app install ads,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/6357635; “Complete guide to Google App Campaigns ad formats and assets,” App Radar, available
     at https://appradar.com/academy/google-app-campaign/ad-assets-and-creatives.


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Play, and Google Display Network.71 By measuring user actions post-click or post-impression,

advertisers gain insights into which ads are driving desired outcomes, whether it is app installs,

sign-ups, purchases, or other valuable actions.72 This way, measuring conversions helps

advertisers refine their advertising strategies.

         33.     Google provides conversion measurement for free through Google Analytics for

Firebase (“GA4F”).73 Google explains that the GA4F SDK “automatically captures certain key

events and user properties, and you can define your own custom events to measure the things

that uniquely matter to your business.”74 Google Mobile Ads (“GMA”) SDK is a mobile

advertising platform that supports Google AdMob and Google Ad Manager.75 Google explains

that the GMA SDK “helps app developers gain insights about their users and maximize ad

revenue.”76 Google also allows third parties to provide conversion measurement services for

campaigns on Google’s ad platforms.

         34.     Multiple third-party platforms such as AppsFlyer, Kochava, Adjust, and Singular

also offer conversion measurement services on Google’s ad platforms. Publishers can choose any

of these tools, or may use many of them at the same time, to evaluate the effectiveness of their ad


71
     Sönmez, Ekin Gür, “A Complete 2023 Guide to Google App Campaigns and Their True Side,” Replug,
     February 20, 2023, https://rplg.io/google-uac/.
72
     See, e.g., “About conversion tracking,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/1722022; “Track app conversions with the Google Ads SDK or a server-to-server connection,”
     Google Ads Help, available at https://support.google.com/google-ads/answer/6095881?hl=en; Porter, Katie
     Sullivan, “The Power of Tracking Pixels…and How to Ensure Their Accuracy,” MarinOne, September 6, 2022,
     available at https://www marinsoftware.com/blog/the-power-of-tracking-pixels-and-how-to-ensure-their-
     accuracy.
73
     See “Google Analytics for Firebase Free and unlimited app analytics,” Firebase, available at
     https://firebase.google.com/products/analytics; “About conversion tracking,” Google Ads Help, available at
     https://support.google.com/google-ads/answer/1722022.
74
     “Google Analytics for Firebase Free and unlimited app analytics,” Firebase, available at
     https://firebase.google.com/products/analytics.
75
     “Mobile Ads SDK,” Google Ad Manager, available at https://developers.google.com/ad-manager/mobile-ads-
     sdk; “Overview of apps with Ad Manager,” Google Ad Manager Help, available at
     https://support.google.com/admanager/answer/6238688.
76
     “Mobile Ads SDK,” Google Ad Manager, available at https://developers.google.com/ad-manager/mobile-ads-
     sdk.


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campaigns.77 Google noted in June 2020 that “

                    also describing that Google prefers                      use [Google’s] lP Firebase SDK,

as this tends to give us better data for constructing multi-touch point conversion paths.”78

                                                                                                        .79

         35.      The process of conversion measurement using third-party platforms unfolds as

follows. First, apps use a third-party platform’s SDK to send events to the third-party platform’s

server. Second, the third-party platform’s server contacts ad networks such as Google and

Facebook for these conversions. Third, Google and Facebook respond to the conversion

notifying network if there was an ad click and, finally, in the last step, the third-party platform

gets click data from the ad networks. In essence, third-party platforms decide which network

drove the conversion based on “last click attribution.”80


         E.       Attribution Analysis in Digital Advertising

         36.      The process of identifying and assigning value to a set of campaigns, ads, or other

marketing tactics, often referred to as “touchpoints,” that contributed in some manner to a

conversion, is called attribution.81 Attribution models help marketers understand the customer

journey and how different marketing campaigns or touchpoints (e.g., social media ads, email

marketing, organic search, paid search) or in-app events contribute to conversions. This can help




77
     See “Set up conversions from Firebase or App Attribution Partners for App campaigns for engagement,”
     Google Ads Help, available at https://support.google.com/google-ads/answer/9260620.
78
     GOOG-RDGZ-00056514–531 at 516.
79
     Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google
     LLC, et al., Defendant Google LLC’s Second Supplemental Objections and Responses to Plaintiffs’
     Interrogatories, Set Six, 3:20-cv-04688, February 14, 2023 (“Interrogatory Response Set Six”), at p. 16.
80
     GOOG-RDGZ-00056108–129 at 122.
81
     See “What is marketing attribution? A beginner’s guide,” Amazon Ads, available at
     https://advertising.amazon.com/library/guides/marketing-attribution.


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advertisers to optimize their ad spend and focus on the channels or events that are driving the

most results.82

         37.      Google distinguishes between various attribution models, such as last click, first

click, linear, time decay, position-based, and data-driven.83 Attribution sharing within Google

App Campaigns enables Google Ads to allocate conversions to the appropriate campaign.84 For

example, if an advertiser is running both app install and app engagement campaigns, this feature

measures click conversions from app install campaigns and in-app actions from engagement

campaigns, allowing for a more precise conversion measurement across different app campaigns

running within the same account.85 Attribution models that assign value to more than one

touchpoint are called multi-touch attribution (“MTA”) models.86 MTA models attempt to

measure the impact of each touchpoint on the customer journey to a conversion, and assign credit

to each touchpoint based on its relative contribution to the conversion.87

         38.      Attribution is thus a fundamental step for advertisers to understand the value of

ads and conversions. By understanding the relative value of each touchpoint and channel,



82
     See “What is marketing attribution? A beginner’s guide,” Amazon Ads, available at
     https://advertising.amazon.com/library/guides/marketing-attribution.
83
     See “About attribution models,” Google Ads Help, available at https://support.google.com/google-
     ads/answer/6259715?hl=en. Starting in June 2023, Google is removing the ability to select first click, linear,
     time decay, and position-based attribution models. (See “First click, linear, time decay, and position-based
     attribution models are going away,” Google Ads Help, April 6, 2023, available at
     https://support.google.com/google-ads/answer/13427716?hl=en.)
84
     See “About attribution sharing for App campaigns,” Google Ads Help, available at
     https://support.google.com/google-ads/answer/9996103?hl=en.
85
     See “About attribution sharing for App campaigns,” Google Ads Help, available at
     https://support.google.com/google-ads/answer/9996103?hl=en.
86
     See “Multi-Touch Attribution: What It Is & How To Use It,” Marketing Evolution, July 20, 2022, available at
     https://www.marketingevolution.com/marketing-essentials/multi-touch-attribution.
87
     In his deposition, Mr. Steve Ganem described multi-touch attribution as: “A user, in the course of deciding
     whether to make a purchase, for example, may encounter a number of ads on their journey to do so and may do
     Google searches along the way, and multi-touch attribution is the process of giving partial credit to each of
     those advertising touch points instead of just assuming that their last advertising touch point was solely
     responsible for their eventual conversion, that purchase.” Deposition of Steve Ganem, October 28, 2022
     (“Ganem Deposition”), p. 35:16–24.


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marketers can optimize their marketing mix and improve the effectiveness of their advertising

plan and budget.


V.       SUMMARY OF MR. LASINSKI’S PROPOSED METHODOLOGIES FOR
         CALCULATING DISGORGEMENT OF PROFIT AND “ACTUAL” DAMAGES

         39.      Mr. Lasinski was retained by counsel for Plaintiffs “to provide expert analysis

and, if requested, expert testimony regarding the measures of monetary relief that may be

appropriate if liability is found against Google for the alleged wrongful conduct described in

Plaintiffs’ Fourth Amended Complaint.”88

         40.      In the Lasinski Report, Mr. Lasinski opines that alleged class-wide disgorgement

of profit damages and “actual” damages can be calculated for both putative classes using

“common proof.”89 His disgorgement of profit damages calculation relies on financial data

produced by Google and Google’s internal studies on the financial impact of various privacy

settings and controls.90 Mr. Lasinski’s “actual” damages rely on his estimates of damages per

device and the number of “Class Member Devices.” Mr. Lasinski obtains these estimates using

publicly available data on internet usage statistics; survey opinions rendered by Plaintiffs’ survey

expert (Mr. Mark Keegan), a consumer research panel maintained by Ipsos, and usage data

produced by Google.91




88
     Lasinski Report, ¶ 9.
89
     Lasinski Report, pp. 1–3. Mr. Lasinski notes that he relied on discussions with Jonathan Hochman. Lasinski
     Report, ¶ 14. Mr. Hochman filed an expert report in this matter on March 22, 2023. Expert Report of Jonathan
     E. Hochman, March 22, 2023.
90
     See Lasinski Report, Section 7.
91
     See Lasinski Report, Section 8.


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         A.       Disgorgement of Profit

         41.      Mr. Lasinski attempts to quantify disgorgement of profit by measuring revenue in

Google’s U.S. AdMob, App Promo, and Ad Manager product areas that are purportedly

attributable to the alleged wrongful conduct.92 Mr. Lasinski takes Google’s revenue in these

product areas and applies discounts purportedly to restrict to revenue associated with users

allegedly harmed by the alleged wrongful conduct. He calculates disgorgement of profit damages

for the period from July 1, 2016, through December 31, 2022, under two scenarios, which differ

with respect to their assumptions regarding Google’s liability associated with the use of sWAA-

off data.93

         42.      In the first scenario (“Scenario 1”), Mr. Lasinski attempts to calculate

disgorgement of profit damages for all of Google’s U.S. App Promo, AdMob, and Ad Manager

app ads revenue from signed-in, sWAA-off users attributable to conversion measurement.94

Under his Scenario 1, Mr. Lasinski envisions a but-for world in which Google does not provide

conversion measurement services to third-party app developers for sWAA-off users.95 Mr.

Lasinski calculates disgorgement of profit damages of                               under this first scenario.96

         43.      In the second scenario (“Scenario 2”), Mr. Lasinski attempts to calculate

disgorgement of profit damages as the estimate from the first scenario, plus disgorgement of

profit for all of Google’s U.S. AdMob and Ad Manager app ads revenue purportedly attributable



92
     Lasinski Report, ¶ 73. Mr. Lasinski also refers to this category of damages as Google’s “unjust enrichment.”
     See Lasinski Report, Section 7.
93
     Lasinski Report, ¶¶ 75–76.
94
     Lasinski Report, ¶¶ 77–78. Conversion measurement is a tool that shows “what happens after a customer
     interacts with [an advertiser’s] ads – whether they purchased a product, signed up for [the advertiser’s]
     newsletter, called [the advertiser’s] business, or downloaded [the advertiser’s] app.” “About conversion
     tracking,” Google Ads Help, available at https://support.google.com/google-ads/answer/1722022.
95
     See Section VIII.B below.
96
     Lasinski Report, ¶ 79.


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been the payment “necessary to incentivize an individual to knowingly surrender the choice to

keep activity on mobile apps private and allow an organization to track app activity data.”122 Mr.

Lasinski’s proposed $3 payment per device is based on “the baseline payment to [Ipsos]

Screenwise Panel participants of $3 per month for using a Screenwise meter app on a single

mobile device (including both smartphones and tablets).”123 Google has worked with the Ipsos

Screenwise Panel, whose members “are paid to voluntarily link their devices, operate a special

router, and recruit other members of the household to participate in a comprehensive online data

collection process.”124 Quoting Google’s privacy policy for the Ipsos Screenwise Panel, the

Lasinski Report notes:125


            The Google Panel Privacy Policy explains that “[w]hen a Meter is placed on a
            device, it potentially will collect and record all interactions with that device.
            For example, when a Meter is placed on your mobile phone, it potentially will
            record everything you see on your screen and everything you tap, type, swipe,
            or otherwise input.” The policy goes on to further define the scope of the
            information collected, which includes, among other items, “every web page
            you’ve visited and all of your interactions with those web pages,” “your use of
            applications and widgets (collectively ‘apps’), software, and operating
            systems,” “the content you see on your screen or device at any given time,”
            and “[i]nformation you provide or otherwise input when visiting websites,
            using apps or using a TV user interface [including] search terms and personal
            information you provide to a website, TV user interface, or app, including your
            name, email address, home/work address, telephone number, Social Security
            number, or credit card number.”
          49.      Based on produced Google data on sWAA-off accounts, publicly available U.S.

demographic data, and data from Plaintiffs’ survey expert, Mr. Lasinski estimates that there are




122
      Lasinski Report, ¶¶ 130–131.
123
      Lasinski Report, ¶ 151. See also Lasinski Report, ¶¶ 141–142. The Lasinski Report also discusses other
      estimates for “consumers’ willingness to pay in their attempts to increase online privacy and/or prevent their
      own data from being saved” and “research organizations’ willingness to pay users to allow for additional data
      collection” that Mr. Lasinski does not use to estimate actual damages. See Lasinski Report, ¶¶ 143–147.
124
      Lasinski Report, ¶ 135.
125
      Lasinski Report, ¶ 138.


                                                          31
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VI.       MR. LASINSKI OVERSTATES DAMAGES BECAUSE HE FAILS TO EXCLUDE
          USERS WITH DEVICES THAT DID NOT ALLOW GOOGLE TO KNOW
          SWAA-OFF STATUS

          52.     Mr. Lasinski’s damages methodologies require an accurate measure of the

number of signed-in users that had WAA or sWAA turned off yet were purportedly subject to

Google’s alleged data collection.131 However, Mr. Lasinski’s methodologies omit the fact that

Google has been practically unable to observe an iOS user’s sWAA status since the iOS 14

update in September 2020. In fact, Google treats those users as signed out for the purposes of the

measurement of the data at issue. As a result, Mr. Lasinski’s methodologies overstate damages

and include many putative class members who could not have been affected by the alleged

wrongful conduct.

          53.     Specifically, I understand that Plaintiffs allege that the collection of the data at

issue and its use by Google for conversion measurement is improper if the user is signed in to a

Google account and has the sWAA setting turned off.132 I further understand that Google’s

knowledge of a user’s sign-in status and its ability to check the WAA/sWAA status of a user

who interacts with an app or an ad depends on the presence of certain flags in the data generated

by GA4F.133 But, these flags are available only for a subset of users, not all users as Mr. Lasinski

incorrectly assumes.

          54.     Specifically, Mr. Steve Ganem, Google’s Product Manager for Google Analytics,

testified that

                                                    .134



131
      See, e.g., Lasinski Report, ¶¶ 75, 131.
132
      Ganem Deposition, pp. 44:2–19; 48:9–14.
133
      Ganem Deposition, p. 33:10–15.
134
      Ganem Deposition, p. 50:7–14.


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         55.     Mr. Ganem also testified that access to the flags that tell Google if an iOS user is

in fact signed in to their Google account have been restricted since the iOS 14 update.136 As a

result, iOS users with at least this version of the operating system are, for practical purposes,

signed-out users because Google cannot observe whether or not they are signed in.137 Internal

Google documents also discuss these limitations to Google’s ability to measure information such

as the data at issue in this matter from iOS 14 users.138 Therefore, the alleged wrongful conduct

does not and cannot occur for these users, and they should be excluded from Mr. Lasinski’s

calculations.

         56.     However, Mr. Lasinski’s methodologies fail to consider or adjust for this

restriction in devices running iOS 14 and above. His calculation of disgorgement of profit

damages assumes                                                                                  .139



                .140 However, he applies this percentage to the entirety of the proposed class

period, including after the iOS 14 update was released in September 2020.141 Mr. Lasinski




135
      Ganem Deposition, pp. 50:17–51:3.
136
      Ganem Deposition, p. 70:4–19.
137
      Ganem Deposition, pp. 71:5–73:3.
138
      See, e.g., GOOG-RDGZ-00204559–589 at 561–565, 570; GOOG-RDGZ-00187249–303 at 252–253; GOOG-
      RDGZ-00199151–191 at 156.
139
      Lasinski Report, ¶ 88.
140
      See GOOG-RDGZ-00188768, tab “Matrix.”
141
      “iOS 14 is available today,” Apple, September 16, 2020, available at
      https://www.apple.com/newsroom/2020/09/ios-14-is-available-today/.


                                                  34
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                     142
                           As a result, Mr. Lasinski overstates disgorgement of profit damages.

          57.




                               143
                                     As Mr. Lasinski notes, App Promo advertisements can be “served

across Search, YouTube, Web Display, and App Display products.”144 Mr. Lasinski provides no

basis (beyond unspecified discussions with Mr. Hochman) for why it is appropriate to apply the



                                           . Mr. Lasinski also applies this factor to calculate the

                                                                                                          .




                                                                               147
                                                                                     The breakdown of

signed-in and signed-out users and attendant revenue could reasonably differ across different

platforms (e.g., websites vs. mobile apps) and Google product areas. By applying

                                                                                               Mr. Lasinski

fails to consider these distinctions. Moreover, internal Google documents suggest that the


142
      Lasinski Report, ¶¶ 88, 101, 109.
143
      Lasinski Report, ¶ 63.
144
      Lasinski Report, ¶ 88.
145
      Lasinski Report, ¶ 32; “About App campaigns,” Google Ads Help, available at
      https://support.google.com/google-ads/answer/6247380?hl=en.
146
      Lasinski Report, ¶ 24; “How AdMob works,” Google AdMob Help, available at
      https://support.google.com/admob/answer/7356092?hl=en.
147
      Lasinski Report, ¶ 29; “Advertising with Google Ad Manager,” Google Ad Manager Help, available at
      https://support.google.com/admanager/answer/6022000?hl=en.


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         58.    Mr. Lasinski’s estimate of “actual” damages also incorrectly assumes that all

putative class members using iOS 14 (or later) are damaged. Mr. Lasinski’s calculation of

“actual” damages estimates the number of putative class members through December 2022. To

do this, he estimates the number of “U.S. Internet Users with Smartphones” and then multiplies

this number by the percentage of users with Gmail accounts—estimated from Mr. Keegan’s

survey—

                                                                                        Therefore,

Mr. Lasinski’s “actual” damages methodology also does not account for putative class members

who may have only used iOS devices after the iOS 14 update. However, these individuals could

not be putative class members because Google could not have received and used the data at

issue, including a sWAA-off signal, for these users as alleged by Plaintiffs.


VII.     THE TESTIMONY OF NAMED PLAINTIFFS IS INCONSISTENT WITH MR.
         LASINSKI’S METHODOLOGY TO CALCULATE CLASS-WIDE DAMAGES

         59.    Both Mr. Lasinski’s methodologies for disgorgement of profit damages and

“actual” damages imply that the behavior of putative class members towards their interaction

with mobile apps using GA4F would have been different had they known about the alleged

wrongful conduct. If putative class members’ behavior would not be affected by their



148
      GOOG-RDGZ-00177709–741 at 714.
149
      Lasinski Report, ¶ 155.


                                                36
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understanding of the alleged wrongful conduct, then Google would have likely been able to

obtain similar profit through an alternative disclosure of its data collection and use (i.e., there

would be no unjust gains from the alleged wrongful conduct)150 and putative class members

would have allowed Google to collect the data at issue without the need for any additional

compensation (i.e., there would be no “actual” damages, as understood by Mr. Lasinski) or

regardless of any emotional distress that they may have suffered.151

          60.      This reasoning also implies that one would have expected the behavior of named

Plaintiffs to have changed after they became aware of the alleged wrongful conduct. However,

their testimony shows that this has not been the case.

          61.      For example, Mr. Sal Cataldo testified that, although his understanding of the

alleged violation of his privacy “heightened [his] awareness” and made him check his settings

more “carefully” when using his smartphone, he could not identify a single behavioral change

that he implemented as a result of this understanding.152

                   Q. I'm asking if you've changed your behavior in any way as a consequence of
                   what you allege Google has been doing to invade your privacy?
                   A. I would say I'm much more cognizant, I would say, diligent about fastidiously
                   checking all my settings because I've noticed settings get turned on when they
                   weren't on. I've been surprised more often than not, so I feel like I'm constantly
                   having to check and make sure that my privacy is, at least to the extent I can
                   control it, is being controlled. So I don't know that I've changed a specific
                   behavior, but as far as my very heightened awareness, that's certainly, to me,
                   something that I really made a diligent practice of trying to be very aware of what
                   I'm doing and what steps I'm taking because I'm much less trusting.
                   Q. So just to make sure I understand, in response to -- strike that. In terms of what
                   behavioral changes you've implemented, if any, as a consequence of what you
                   allege to be Google's ongoing violation of your privacy, you've identified as one



150
      See Section VIII.A.
151
      See Section X.A.
152
      Deposition of Sal Cataldo, February 17, 2022 (“Cataldo Deposition”), pp. 42:19–43:25.


                                                        37
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                  change that you check your settings more carefully now than you did before; is
                  that fair to say?
                  A. That's fair to say.
                  Q. Can you think of any other behavioral changes that you have implemented as a
                  consequence of what you allege to be Google's ongoing violation of your privacy?
                  A. Sorry, I thought my audio cut out there. There's none that I can articulate
                  specifically.
          62.     Similarly, Mr. Anibal Rodriguez testified that he did not change any of his

behaviors in terms of interacting with apps other than turning WAA off.153


                  A. And, again, we're -- we're -- we're in this here. And as -- as far as what we're
                  investigating, I didn't want to change any of my -- my -- my activities or -- or
                  what I'm doing if before -- if -- if we're in this investigation, I needed to keep
                  what I had. So my phone still had same apps, still have WAA off, and my -- my
                  behaviors are still the same. In order for this to continue, I want to make sure that
                  you know that I still have the same behaviors.

                  [...]

                  Q. Apart from making sure WAA is off, did you change your behavior in the way
                  you interacted with any of the apps after and as a result of the allegations in your
                  July 2020 Complaint?

                  A. No. The -- it -- it's -- I continue on with the WAA off and same behaviors. I
                  mean, it's -- what I changed was the -- the -- the WAA, making sure it's off,
                  making sure all my e-mails -- because I didn't know that they were on and then
                  make sure they're off. But once I could -- once I did that, I continued on.
          63.     Mr. Rodriguez did not tell his son to change his behaviors either.154


                  Q. I'm asking: At any point after July 2020, as a result of the allegations in your
                  initial Complaint that you told me you believe to be true, did you ask Nathan to
                  change his behavior with respect to his apps, whether that would be to delete or
                  otherwise use apps differently?

                  A. As far as apps goes, I didn't tell him to -- to change his behaviors on how to
                  use the apps that he normally uses.

                  Q. Have you allowed Nathan to install new apps since July 2020?

                  A. Maybe. Yes. I mean, I don't know which ones.

153
      Deposition of Anibal Rodriguez, October 16, 2022 (“Rodriguez Deposition”), pp. 83:16–84:1; 327:2–15.
154
      Rodriguez Deposition, pp. 329:11–330:6.


                                                       38
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                  Q. Have you installed new apps since July 2020?

                  A. Yes.

                  Q. Before installing new apps after July 2020, did you investigate whether those
                  apps use Google Analytics for Firebase?

                  A. No.
          64.     Moreover, Mr. Rodriguez testified that, when opening a new email account after

learning of the alleged wrongful conduct, he chose to create another Gmail account instead of

using a different provider, such as Yahoo simply because “it’s easier to do a Gmail.”155


                  Q. Why didn't you create a Yahoo account for your two sons instead of a Gmail
                  account?

                  A. Well -- well, if -- my son -- well, first of all, my son, he -- he -- I didn't create
                  that. That's why you don't see it -- like, my information on there. Because, in fact,
                  it -- that e-mail was not created on 12/31/11. So I don't know what -- how -- how
                  you got that information. It's weird. My -- my son was one year's old. And he's the
                  one that created that. Did I know he did it offhand? I -- I -- you know, I -- I --
                  that's -- I -- I talked to him about that. We went over the rules. Those are -- you
                  know, we came up with rules. But as far as why didn't I get -- do a -- a Yahoo
                  account, it's because I can put my -- if -- if he has -- if he created it, I'm just going
                  to say: Okay, you created that. Now, you know what? Give me the e-mail so I can
                  put it on my phone so I can see your e-mail. With my other -- with the other e-
                  mails, again, I want -- I wanted it to link to my -- my account. When I say
                  "linked," I mean a way for me to toggle through the different e-mails and also get
                  notifications that, if an e-mail comes up with any of my kids' school or any
                  purchases, they pop up. And that's why I use Gmail. Again, if -- if -- us -- when
                  my regular account was switched off, adding another e-mail, it -- it -- there's this
                  thing where it automatically goes into WAA on. And I wish that -- that didn't
                  happen, where I had to go back and double-check and make sure and make -- you
                  know, turn it off. That's the case. There's -- you know, why I didn't do a Yahoo
                  account? I figure that it's easier to do a Gmail. And I'm the one that's actually
                  looking at any information that's being sent to that e-mail, with -- with the
                  exception to the "awesomenb." [sic]

                  Q. Is there a reason you didn't want to take the harder route of creating a Yahoo
                  account while you investigated your claims against Google?

                  A. Because I already have my account already here. I already have my account on
                  Google, my -- my -- my -- my Google account on my device. And, again, it's

155
      Rodriguez Deposition, pp. 311:8–313:9.


                                                     39
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                  easier to just go to Google and press "Add an account," create the e-mail really
                  quick, get your password and such, and then have it in my dashboard to pick. But
                  they don't have access to those e-mails that I created on my phone.
          65.     Mr. Julian Santiago testified he continued to use the same apps in his smartphone

after learning about the alleged wrongful conduct.156


                  Q. Why do you continue to use the Bleacher Report over the last year after
                  finding out that you -- what you believe to be the fact that Google obtains and
                  saves your app interaction data, even though you have web-and-app activity off?

                  A. I think Bleacher Report is a good app. And I like their journalism and I like
                  their articles and how user friendly it is. And although unsettling that whatever
                  I'm accessing on Bleacher Report may still be getting tracked and collected by
                  Google, despite me having turned web-and-app activity off, which Google clearly
                  states includes services like integrated third-party apps, it's still a good app. And it
                  is highly unsettling but I've continued to use it because they do a good job.

                  [...]

                  Q. Between the prior year, at least at the time where you filed your Third
                  Amended Complaint in November 2020, where you had -- or understood these
                  allegations of yours that are in the Complaint, in August 2021 did you take any
                  steps to come up with an alternative to ESPN Fantasy?

                  A. I suggested to my very stubborn friends who have been using this app for close
                  to 10 years now that maybe we should use another app. And like I said, they're
                  very stubborn and majority rules, therefore we stuck with using the same app.

                  Q. Surely you told those friends about what happened or what you believed
                  Google to be doing; right?

                  A. No. Not surely. I simply presented to them, "Hey, why don't we use another
                  app?"

                  Q. Did you give them a reason as to -- go ahead.

                  A. I suggested we use another app. I don't need to give my friends reasons.

                  Q. So you're telling me that you found what Google was doing to be highly
                  offensive, to be screwing you, to be enough to be the case that you wanted to look
                  into a different app and get your whole set of friends to move to a different
                  Fantasy Football app but you didn't tell them that?


156
      Deposition of Julian Santiago, March 7, 2022 (“Santiago Deposition”), pp. 162:6–20, 176:22–178:12, 180:1–
      11.


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                  A. No. I simply suggested it.

                  Q. Did you tell them that the suggestion to move to a different Fantasy Football
                  app was because you were concerned Google was obtaining their app interaction
                  data?

                  A. No, I didn't get into detail about it. I simply suggested it in passing. It didn't
                  stick. But perhaps with the following season, like I said I've been looking into
                  different app alternatives, I will give them a little more reason to.

                  Q. Did you mention Google at all in your conversations --

                  A. No.

                  Q.-- with your friends?

                  A. No.

                  [...]

                  A. Your question was did I continue using MapMyRide?

                  Q. Yes.

                  A. Very simply because it's a great app for tracking my bike rides.

                  Q. Do you think there's an alternative?

                  A. Sure. There may be other options, yeah.

                  Q. Have you looked into them?

                  A. I've tried other bike ride tracking apps, and none of them do as good a job in
                  my opinion as MapMyRide does.
          66.     Finally, Ms. Susan Harvey testified that she did not remember deleting any apps,

researching whether any apps used GA4F, or using any apps differently as a result of learning

about the alleged wrongful conduct.157


                  Q. After you found out about the actions that you allege in this lawsuit, did you
                  delete any apps?

                  A. I'm sure there's been apps that have went off my phone because I switched
                  phones. But I -- I don't know. Maybe if I didn't use something anymore, I would

157
      Deposition of Susan Harvey, October 29, 2022 (“Harvey Deposition”), pp. 244:16–245:1; 248:13–19.


                                                       41
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                  take it off. But I -- I was sort of curious what -- what was going to be find out.
                  That's why I seeked attorneys.

                  Q. Did you investigate which apps use Google Analytics for Firebase?

                  A. That's not for me to do.

                  [...]

                  Q. Ms. Harvey, since filing this case, have you used any apps differently than you
                  did before?

                  A. No. I'm trying to find out what's going on. It's being investigated right now.
                  They're checking everything out. So if I stopped using those things, then nothing
                  would be found out, would it?
          67.     Ms. Harvey also testified that she continued to use Gmail accounts on Android,

and created new Gmail accounts, after learning of the allegations against Google.158


                  Q. If there were unauthorized transactions on a Gmail account, why did you make
                  a new Gmail account?

                  A. Excuse me?

                  Q. I guess I'm just curious. If there are these unauthorized transactions that were
                  happening through a Gmail account and there were concerns about that actual
                  account, why did you choose Gmail as the new service to make your new e-mail
                  address?

                  A. Because it's what you use with Android.

                  Q. Did you ever consider making a non-Gmail account?

                  A. I've had other non-Gmail accounts. I use Gmail. It's what I use. It goes with the
                  Android device.
          68.     In summary, the four named Plaintiffs expressed in their respective depositions

that they did not change their behavior when using their mobile devices and interacting with

mobile apps, which is inconsistent with Mr. Lasinski’s methodologies of damages.




158
      Harvey Deposition, pp. 118:23–119:12.


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VIII. MR. LASINSKI’S DISGORGEMENT OF PROFIT DAMAGES ANALYSIS
      ENVISIONS UNREALISTIC BUT-FOR SCENARIOS THAT INFLATE
      DAMAGES

          69.      Mr. Lasinski’s disgorgement of profit damages analysis assumes unrealistic but-

for world scenarios with unnecessarily onerous restrictions on Google’s conversion measurement

and ad serving for sWAA-off accounts. Specifically, Mr. Lasinski’s Scenarios 1 and 2 envision

but-for worlds in which Google and third parties would take unrealistic steps to be consistent

with Plaintiffs’ theory of harm and damages. These scenarios also ignore any possible behavioral

responses from either Google, ad publishers, or users that may result from Mr. Lasinski’s

proposed changes in Google’s data collection and use practices. As a result, Mr. Lasinski’s

analysis fails to quantify any claimed damages correctly, and his disgorgement of profit damages

are overstated.


          A.       Mr. Lasinski Ignores the Possibility of a But-For World with Alternative
                   Disclosures from Google

          70.      A realistic alternative to Mr. Lasinski’s Scenarios 1 and 2 is a scenario that

assumes no change to Google’s data collection and use procedures, and instead assumes that the

relevant terms of service and/or privacy disclosures pertaining to sWAA include the alleged

wrongful conduct. In other words, in this “alternative disclosure” scenario, Google would have

disclosed even more explicitly its conversion measurement practices for sWAA-off accounts.159

In the face of such a policy, consumers might have chosen differently whether and the extent to

which to utilize the WAA setting, and/or other Google services, commensurate with their

appetite for such data collection and the benefits they derive therefrom. Such a change in



159
      I understand from counsel that such modified disclosures would cure the alleged wrongful conduct at issue in
      this matter.


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consumer demand for Google services would consequently change Google’s revenue and profit.

In this framework, the appropriate measure of the value of the alleged wrongful conduct to

Google would be the difference between Google’s profit in the real world and the hypothetical

profit it would have earned in this “more disclosure” but-for world. This alternative approach

would necessarily embed changes in consumer behavior arising in response to the change in

policy, which Mr. Lasinski ignores.

          71.      This “alternative disclosure” scenario reframes the damages analysis as one of

estimating the impact of a policy change on consumer behavior. This is an active area of

economic research that leverages well established and widely accepted analytical approaches. A

common approach in this academic literature is a difference-in-differences technique, which

exploits existing variation in policy across firms, geographies, or time to identify an effect of

interest.160 In this case, Mr. Lasinski might have leveraged variation in technology firms’ data

privacy policies and the impact of changes other firms made to their privacy policies to estimate

the impact for Google. Mr. Lasinski makes no attempt to do any such exercise. Instead, Mr.

Lasinski’s disgorgement of profit damages effectively assumes that all sWAA-off users stop

using Google’s services, which is inconsistent with the named Plaintiffs’ testimony in this

matter, as I discuss below.

          72.      The academic literature also commonly uses surveys to quantify changes in

demand and willingness to pay. A properly designed survey could elicit the degree to which a



160
      For example, Goldfarb and Tucker (2011) use a difference-in-differences design to study the effect of privacy
      regulations in the EU on the effectiveness of online advertising. See Goldfarb, Avi, and Catherine E. Tucker,
      “Privacy Regulation and Online Advertising,” Management Science, Vol. 57, No. 1, 2011, pp. 57–71. Similarly,
      Johnson et al. (2019) use a difference-in-differences design to study the effect of consumers opting into the
      AdChoices program on revenue from online ads. See Johnson, Garrett A., Scott K. Shriver, and Shaoyin Du,
      “Consumer privacy choice in online advertising: Who opts out and at what cost to industry?,” Marketing
      Science, 2020, Vol. 39, Issue 1, 33–51.


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how Your ad impressions, other uses of ad services, and interactions with these ad impressions

and ad services are related to visits to AccuWeather Sites.”163 Dr. Hoffman, another expert for

Google in this matter, opines that it makes sense from a user interface (or UI) design perspective

for disclosures related to data collection pertaining to third-party apps to be found in the third-

party apps’ user agreements.164 She opines that in addition to subsections in Google’s Privacy

Policy, third-party app user agreements serve as another source of information that

communicates to users that Google is collecting and saving information related to their activity

on such apps.165

          75.      I also understand that many app developers who use GA4F also use multiple other

analytics providers and disclose multiple analytics providers in their privacy policies.166

However, in this matter, Plaintiffs claim to have been harmed only by Google’s receipt of their

data while their sWAA setting was off and not by any of these other analytics providers’

simultaneous collection of similar data for similar purposes.

          76.      To measure the impact of a but-for “alternative disclosure” scenario on Google’s

revenue, one could consider consumer behavior toward app developers who use multiple

analytics providers, or who only use analytics providers other than Google. These other analytics

providers do not have a separate relationship with the user that includes a WAA or sWAA



163
      “Privacy Policy,” AccuWeather, August 21, 2020, available at https://www.accuweather.com/en/privacy. See
      also “Privacy Policy,” Applebee’s, April 1, 2023, available at https://www.applebees.com/en/privacy-policy;
      “Privacy Policy - United States, DoorDash - General Privacy Policy,” DoorDash, January 3, 2023, available at
      https://help.doordash.com/legal/document?type=cx-privacy-policy&region=US&locale=en-US.
164
      Expert Report of Donna L. Hoffman, May 31, 2023 (“Hoffman Report”), Section VIII.B.
165
      Hoffman Report, Section VIII.B.3.
166
      See, e.g., “Privacy Policy,” Little Caesars, January 1, 2023, available at https://littlecaesars.com/en-
      us/legal/privacy-policy (“We may use Google Analytics, Adobe Analytics, or other Service Providers for
      analytics services”); “Target Privacy Policy,” Target, December 31, 2022, available at
      https://www.target.com/c/target-privacy-policy/-/N-4sr7p (“Analytics services such as Site Catalyst by Adobe
      Analytics, Google Analytics and Crazy Egg provide services that analyze information regarding visits to our
      websites and mobile application(s).”).


                                                         46
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control like the one at issue in this matter. When installing such an app, the user chooses whether

to agree to the app developer’s privacy policy or refrain from using the app. If it were true that

putative class members have an economic preference against sharing the data at issue with

Google in particular, developers and publishers might observe consumers choosing not to use

apps that share the data at issue with Google in this “alternative disclosure” but-for scenario.

          77.     The existence of this type of consumer behavioral response has been studied in

other markets. For example, a joint study by McKinsey and NielsenIQ shows that some

consumers show a preference for environmentally sustainable products, which creates an

incentive for firms to develop sustainability initiatives as a way of making their products more

appealing to those customers and grow sales.167 Consumers have been shown to prefer products

from such sustainability-minded manufacturers even if the intrinsic characteristics of the

underlying products are unchanged. That is, consumers prefer products from such manufacturers

even when the characteristics of the product do not change when the manufacturer begins

producing it in a “carbon neutral” facility, much the same way that the features of an app do not

change when the conversions on the ads it displays are measured by a third party instead of

Google.

          78.     This example illustrates that considering the possible behavioral responses of

consumers surrounding these choices is necessary to reliably estimate the impact of changes to

Google’s profit in the but-for world in this matter. However, Mr. Lasinski does not attempt to

perform this type of analysis. Considering this “alternative disclosure” but-for world underscores

infirmities in Mr. Lasinski’s analysis, which makes no effort to measure how the behavior of


167
      “Consumers care about sustainability—and back it up with their wallets,” McKinsey and Company, February 6,
      2023, available at https://www mckinsey.com/industries/consumer-packaged-goods/our-insights/consumers-
      care-about-sustainability-and-back-it-up-with-their-wallets.


                                                       47
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consumers, publishers, and developers would change in the absence of the alleged wrongful

conduct. As I discuss above, this scenario might result in publishers and developers still using

Google’s ad platform—such that any impact on Google’s profit might be small or negligible—

but aided by third-party analytics providers.


       B.      Mr. Lasinski Ignores that Third Parties Would Still Provide Conversion
               Measurement Services in the But-For World

       79.     Mr. Lasinski’s Scenario 1 envisions a but-for world in which Google does not

provide conversion measurement services to third-party app developers for sWAA-off users.

Mr. Lasinski’s Scenario 2 further envisions a but-for world in which Google does not provide

any advertising related services for sWAA-off users’ devices, including serving ads or measuring

impressions or clicks. As I discuss below, conversion measurement (including for sWAA-off

users) would likely continue in the but-for worlds contemplated by Mr. Lasinski, and Google

would likely continue to earn advertising revenue. Mr. Lasinski fails to consider these features

and, as a result, his analysis assumes an unrealistic but-for world. In particular, Mr. Lasinski fails

to consider the revenue that Google would have generated in the but-for-worlds where Google

does not engage in the alleged wrongful conduct.

       80.     In the absence of GA4F conversion measurement for sWAA-off users under

Mr. Lasinski’s Scenario 1, Google would still need to charge advertisers for advertising on

Google’s network, and app developers would still need to know how their ad campaigns were

performing for all users who interacted on their apps. As I explain in Section IV above, some

form of conversion measurement or attribution measurement has been an essential part of

advertising campaigns since long before the age of online ads because advertisers wish to know

how effective their ads campaigns are in order to adjust their campaigns and allocate their



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advertising budgets to maximize the returns on their ad spending. In this context, it is reasonable

to expect advertisers to react to the loss of conversion measurement provided by Google in

Mr. Lasinski’s hypothetical but-for world by utilizing similar services from other providers.

Indeed, most of them already do so.168 This is especially true in a context where conversion

measurement for online ads is a service that Google provides for free currently.169

          81.      Mr. Lasinski also ignores that Apple implemented its own conversion

measurement in iOS14: SKAdNetwork.170 Apple’s solution provides advertisers with attribution

even in the absence of the user or device identifier by providing the advertiser with aggregated

conversion information.171 Not only can app developers and advertisers leverage this solution for

their iOS apps, but Google could also provide its own similar solution.172 Google explains that

“[a]s the industry moves away from individual identifiers, particularly with the rollout of Apple’s

ATT policy, multiple forms of measurement have emerged for iOS app install campaigns,”

where Google’s own conversion modeling uses “Google’s AI to help you assess the performance

of your campaigns when a subset of conversions can’t be directly linked to ad interactions.”173



168
      See GOOG-RDGZ-00056514–531 at 516, stating that “80% of app conversions are tracked using non-Google
      SDKs” and GOOG-RDGZ-00202698–713 at 699–700 showing the Facebook SDK has higher penetration than
      GA4F.
169
      See “About conversion tracking,” Google Ads Help, available at https://support.google.com/google-
      ads/answer/1722022.
170
      See “SKAdNetwork,” Apple Developer, available at
      https://developer.apple.com/documentation/storekit/skadnetwork.
171
      “SKAdNetwork,” Apple Developer, available at
      https://developer.apple.com/documentation/storekit/skadnetwork (“The information in the postback that Apple
      cryptographically signs doesn’t include user- or device-specific data. It may include values from the ad network
      and the advertised app if providing those values meets Apple’s privacy threshold”). See also “Best practices
      guide: Drive better performance and measurement for iOS App campaigns,” Google Ads Help, available at
      https://support.google.com/google-ads/answer/10384955?hl=en (“Apple’s new attribution solution for
      campaign measurement, helps app advertisers measure their ad activity, such as impressions, clicks, and app
      installs, on an aggregated level”).
172
      “Best practices guide: Drive better performance and measurement for iOS App campaigns,” Google Ads Help,
      available at https://support.google.com/google-ads/answer/10384955?hl=en.
173
      “Best practices guide: Drive better performance and measurement for iOS App campaigns,” Google Ads Help,
      available at https://support.google.com/google-ads/answer/10384955?hl=en.


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         83.



                   Since most app developers already use third-party conversion measurement

tools instead of, or in addition to, GA4F, they may simply react by dropping the use of GA4F

while continuing to use Google’s ad platform.178 At the same time, Google could try to adapt by

measuring attribution in alternative ways in order to continue to serve ads, measure conversions

and engagement, and generate revenue in the absence of conversion measurement through

GA4F. An appropriate damages analysis would have to consider Google’s revenue under the

alternative that a third-party conversion measurement tool were used instead of GA4F.

Mr. Lasinski’s damages analysis fails to do so.

         84.    Moreover, this third party could also be created and managed by Alphabet itself.

For example, Google’s parent company, Alphabet, could own a company separate from Google

that would offer all conversion measurement services in a similar manner to the third-party

conversion measurement platforms that I reference above and enforce strict firewalls to ensure

only sWAA-on data were shared with Google and sWAA-off data were shared only with the

third-party app from which the data were generated. Users, app developers, and advertisers

would likely see no change in their experience as this arrangement would closely resemble the

real world, including that sWAA-off data would not be used to personalize advertising. The only

difference would be that the firewall would be legal and structural rather than an internal policy

forbidding personalized advertising, and the servers used to log conversion activity and ad

interactions would be run by a separate legal entity. That is to say, any decrease in advertiser ad

spend on Google’s advertising network would likely be small.


178
      GOOG-RDGZ-00056514–531 at 516.


                                                  51
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          85.      Furthermore, Google offers conversion modeling as a solution to increasing

browser restrictions, regulatory updates, and customer privacy expectations that “force the

industry to move away from third-party cookies on the web and device IDs in apps.”179

Conversion modeling uses machine learning to “quantify the impact of marketing efforts when a

subset of conversions can’t be tied to ad interactions.”180 Google explains that “[m]odeled

conversions use data that doesn’t identify individual users to estimate conversions that Google is

unable to observe directly.”181 When Google receives ad interactions and online conversions

without the linkage between the two, conversion modeling helps determine whether a Google ad

interaction led to the online conversion.182 Further, I understand that the use of modeled

conversions for sWAA-off users would not necessarily instantiate the alleged violations of

privacy claimed to be suffered by Plaintiffs in this matter. The development of conversion

modeling suggests that Google would be able to leverage alternative solutions in the absence of

GA4F conversion measurement for sWAA-off users under Mr. Lasinski’s damages scenarios.183


IX.       MR. LASINSKI’S METHODOLOGY FOR CALCULATING DISGORGEMENT
          OF PROFIT DAMAGES REQUIRES UNRELIABLE ASSUMPTIONS THAT
          OVERSTATE DAMAGES

          86.      As I explain in Section V.A, Mr. Lasinski attempts to quantify disgorgement of

profit damages for Google’s AdMob, App Promo, and Ad Manager products between



179
      “Your guide to conversion modeling: Introduction,” Google Ads Help, available at
      https://support.google.com/google-ads/answer/12445061?hl=en.
180
      “Your guide to conversion modeling: Introduction,” Google Ads Help, available at
      https://support.google.com/google-ads/answer/12445061?hl=en.
181
      “About modeled online conversions,” Google Ads Help, available at https://support.google.com/google-
      ads/answer/10081327?hl=en.
182
      “About modeled online conversions,” Google Ads Help, available at https://support.google.com/google-
      ads/answer/10081327?hl=en.
183
      de Freitas, Henrique, “Conversion modeling through Consent Mode in Google Ads,” Google Marketing
      Platform, April 15, 2021, available at https://blog.google/products/marketingplatform/360/conversion-
      modeling-through-consent-mode-google-ads/.


                                                        52
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July 1, 2016, and December 31, 2022, under two scenarios, which differ with respect to their

assumptions regarding Google’s liability associated with the use of sWAA-off data.

       87.      Even putting aside the fact that Mr. Lasinski’s scenarios are unrealistic as I

discuss above, Mr. Lasinski’s methodology for calculating disgorgement of profit damages is

unreliable. In this section, I show that Mr. Lasinski’s methodology overstates damages because:

             a. it incorrectly assumes that all owners of Google accounts with sWAA off were

                exposed in equal manner to the alleged wrongful conduct and fails to consider

                lower account activity—and lower revenue—associated with sWAA-off accounts;

             b. it incorrectly assumes that Google earns revenue directly through conversion

                measurement;

             c. it overstates the fraction of Google’s revenue that can be attributed to sWAA-off

                users by assuming that all users—regardless of sWAA status—are equally likely

                to interact with online ads;

             d. it uses inaccurate or irrelevant measures of revenue attributable to signed-in users;

             e. it misinterprets the status of the WAA and sWAA settings in putative class

                members’ Google accounts;

             f. it uses a speculative and unsupported estimate for the share of revenue attributable

                to conversion measurement based on the ChromeGuard study;

             g. it fails to consider any revenue Google would have generated in the but-for

                worlds in which there is no alleged wrongful conduct; and

             h. it underestimates the costs that should be deducted from Google’s at-issue

                revenue.


                                                  53
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          A.      Mr. Lasinski’s Proposed Calculation of Disgorgement of Profit Damages
                  Overstates the Alleged Harm Suffered by sWAA-Off Users

          88.     Mr. Lasinski assumes without basis that all owners of Google accounts with

sWAA off were harmed, and therefore overstates his claimed disgorgement of profit damages.

          89.




                                                                                      . Thus, Mr. Lasinski’s

analysis fails to consider lower account activity—and lower revenue—associated with

sWAA-off accounts. In particular, Mr. Lasinski does not consider that Google generates revenue

from user traffic and users’ interactions with ads, rather than simply higher numbers of user

accounts. Users with more activity will have more exposure to ads, so they would be expected to

generate more revenue. However, Mr. Lasinski ignores this fact.

          90.




184
      Lasinski Report, Schedules 2.2, 3.4, and 4.4.
185
      Interrogatory Response Set Six, Second Supplemental Response to Interrogatory No. 17, pp. 19–24.


                                                        54
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instead “helps Google’s revenue-generating functions because it leads to a ‘virtuous cycle’ in the

parlance of the GA4F team that helps developers make their apps perform better, which in turn

leads to increased user engagement, which in turn leads to app developers investing more in their

apps and into advertising their apps.”191 In addition, through a process called attribution, Google

“serves as an accountant for the app developer/advertiser” to make an educated guess about

whether an interaction with that advertiser’s advertisement came from the same device or user as

a conversion (recorded by GA4F or third-party conversion measurement tools), depending on the

types of information available. Advertisers then use these data to measure the effectiveness of

the ad campaign,192 which can help them to refine their advertising and to determine how much

advertising budget to spend in the future on similar advertising.

          92.     As I discuss in Section IV.E, an attribution model determines how credit for sales

and conversions is assigned to the various touchpoints in a user’s conversion path, and Google

uses MTA models to assign credit to each point of contact between a user and an advertiser such

that the advertiser can measure how much influence each channel had on a sale. Google utilizes

certain “consented-to” data from the GA4F and GMA SDKs to improve its attribution models,

which allows advertisers to better measure the effectiveness of the ads. Contrary to the

assumptions underlying Mr. Lasinski’s analysis, I understand Google generates no revenue from




191
      Interrogatory Response Set Six, Supplemental Response to Interrogatory No. 17, p. 14. See also GOOG-RDGZ-
      00030019–023 at 019–020.
192
      Interrogatory Response Set Six, Supplemental Response to Interrogatory No. 17, pp. 15–16; GOOG-RDGZ-
      00030019–023 at 019–020. “Through the concepts of ‘data sharing’ and ‘linking’, the data for a given app
      becomes actionable … The intent is to create a virtuous cycle.”


                                                       56
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                                                                                            Likewise,

sWAA-off users benefit greatly from improvements in app quality and user experience driven by

analytics based on data generated by sWAA-on users.

          95.     Similarly, the means through which conversion measurement takes place (either

through Google via GA4F or through other third-party conversion measurement tools) may not

impact how advertisers serve personalized ads through Google’s App Campaign product. I

understand that conversion measurement tools can be substitutes in Google’s App Campaign

business,206 and Google’s App Campaign revenue would not necessarily be impacted by app

developers’ or advertisers’ choice of conversion measurement tool. In this way, GA4F’s role in

Google’s App Campaign business is akin to a replaceable component of a composite device,

such as the RAM chip in a laptop computer. While laptops cannot function without any RAM

chip, laptops typically do not require a certain brand of RAM chip—they merely require a

compatible RAM chip. As I discuss in Section VIII.B, Mr. Lasinski fails to consider that GA4F

could be substituted by other third-party conversion tracking tools, and instead assumes that



204
      Nightingale, Ed, “Microsoft loses up to $200 on each Xbox console sold,” Eurogamer, November 1, 2022,
      available at https://www.eurogamer.net/microsoft-loses-up-to-200-on-each-xbox-console-sold; Banton,
      Caroline, “Loss Leader Strategy: Definition and How It Works in Retail,” Investopedia, May 27, 2021,
      available at https://www.investopedia.com/terms/l/lossleader.asp.
205
      Nightingale, Ed, “Microsoft loses up to $200 on each Xbox console sold,” Eurogamer, November 1, 2022,
      available at https://www.eurogamer.net/microsoft-loses-up-to-200-on-each-xbox-console-sold.
206
      See “Track app conversions with third-party app analytics,” Google Ads Help, available at
      https://support.google.com/google-ads/answer/7382633?hl=en (explaining that app conversion data from third-
      party app analytics provider could be imported). See also GOOG-RDGZ-00056514–531 at 516 (showing that
      80 percent of the conversions are tracked through third-party trackers as of June 2020).


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                                                                . Further, as I explain in Section V.A,




          100.    Therefore, Mr. Lasinski’s methodology to calculate disgorgement of profit for

AdMob and Ad Manager incorrectly attributes revenue from conversion-based autobidding to

conversion measurement, a service that Google offers for free to app developers and advertisers.

As a result, Mr. Lasinski’s methodology is unsupported and fails to measure any profit that

results from the alleged wrongful conduct.


          C.      Mr. Lasinski’s Calculation of Disgorgement of Profit Damages Overstates
                  Google Revenue Attributable to sWAA-Off Users and Data

                  1.      Mr. Lasinski’s estimates for the share of revenue from signed-in users is
                          inaccurate and irrelevant

          101.    Even assuming arguendo that Mr. Lasinski’s choice to



                                his methodology to estimate “Share of Revenue from Signed-In

Users” lacks support. Mr. Lasinski estimates this factor from a Google internal analysis entitled




220
      “How AdMob works,” Google AdMob Help, available at
      https://support.google.com/admob/answer/7356092?hl=en.
221
      “Advertising with Google Ad Manager,” Google Ad Manager Help, available at
      https://support.google.com/admanager/answer/6022000?hl=en.


                                                      63
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                   2.       Mr. Lasinski’s methodology for estimating revenue attributable to sWAA-
                            off accounts would overstate damages

          104.     When calculating the revenue attributable to sWAA-off users, Mr. Lasinski fails

to use data on ads traffic by sWAA-off users that Google provided. Instead, he simply multiplies

the proportion of the number of sWAA-off accounts to the number of active accounts to the

respective App Promo, AdMob, and Ad Manager revenue. As a result, Mr. Lasinski assumes that

sWAA-off accounts generate the same level of revenue per account compared to sWAA-on

accounts.

                                                                                                                 .229

Google’s internal research has also found that


227
      Fair Deposition, pp. 180:12–181:15.
228
      If a user has set sWAA off, they will not receive personalized ads. However, even if a user has set sWAA on, if
      they set GAP off, then they also would not receive personalized ads. Anibal Rodriguez and Julie Anna Muniz,
      individually and on behalf of all other similarly situated, vs. Google LLC, et al., Defendant Google LLC’s
      Fourth Supplemental Responses and Objections to Plaintiffs’ Interrogatories, Set One, 3:20-cv-04688,
      November 5, 2021 (“Interrogatory Response Set One”), Fourth Supplemental Response to Interrogatory No. 1,
      pp. 23–24; Interrogatory Response Set Six, Supplemental Response to Interrogatory No. 17, p. 15.
229
      See Figure 1 above.


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                                               ”230



                                     As I discuss in Section IX.A, when accounting for sWAA-off traffic

volume, Mr. Lasinski attributes a share of revenue from sWAA-off users ranging between
                               231
                                     but this share is likely much lower. As I discuss above, the share of

revenue attributable to sWAA-off accounts from March 2022 and May 2022 would fall from



           )232 to

           ) or

when adjusting for ad engagement.233 Based on these data, I have adjusted Mr. Lasinski’s

damages analysis to illustrate

                  from sWAA-off users in Section IX.E below.


          D.         Mr. Lasinski’s Calculation of Disgorgement of Profit Damages
                     Underestimates Google’s Costs

          105.       I understand from counsel that a disgorgement of profit damages calculation

should consider net profit after accounting for all relevant costs associated with generating the

revenue associated with alleged wrongful conduct.234 Mr. Lasinski’s calculation of disgorgement

of profit damages                            , and fails to


230
      GOOG-RDGZ-00046896–933 at 903.
231
      Lasinski Report, Schedule 13.1.
232
      Mr. Lasinski adjusts App Promo, AdMob, and Ad Manager revenue in 2022 by 13.87 percent, which is Mr.
      Lasinski’s estimate of the average for full-year 2022. Lasinski Report, Schedule 13.1.
233
      See Figure 1.
234
      See also “Liu v. SEC: Supreme Court Affirms SEC’s Disgorgement Authority But Imposes Limitations,” White
      & Case, June 24, 2020, available at https://www.whitecase.com/insight-alert/liu-v-sec-supreme-court-affirms-
      secs-disgorgement-authority-imposes-limitations (The Supreme Court held that the disgorgement awards should
      be “capped to the wrongdoer’s net profits” and “rather than requiring wrongdoers to disgorge their total ill-
      gotten proceeds, lower courts must now deduct any legitimate business expenses from the amount of ill-gotten
      gains in order to calculate the amount eligible for disgorgement”).


                                                         66
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          112.




250
      As I explain in Section IX.D, Google would reduce its firm-wide expenses in the but-for world envisioned by
      Mr. Lasinski where Google would not generate any revenue from the alleged wrongful conduct.


                                                         71
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                   3.       Correcting Mr. Lasinski’s methodology for estimating revenue
                            attributable to sWAA off accounts and costs he fails to consider

          113.     I next calculate illustrative disgorgement of profit damages by applying both

corrections above.




          114.     Finally, as I discuss in Section VI above, Mr. Lasinski fails to consider or adjust

for limitations to Google’s ability to measure information from users of iOS 14 and beyond.

Given that iOS 14 was launched in September 2020,251 I apply further adjustments to Mr.

Lasinski’s disgorgement of profit damages in 2021 and 2022 to reflect the market share of iOS in

mobile operating systems.252 In particular, I apply reductions of 58.6 percent and 56.7 percent to



251
      “iOS 14 is available today,” Apple, September 16, 2020, available at
      https://www.apple.com/newsroom/2020/09/ios-14-is-available-today/.
252
      “Market share of mobile operating systems in the United States from January 2012 to March 2023,” Statista,
      March 2023, available at https://www.statista.com/statistics/272700/market-share-held-by-mobile-operating-
      systems-in-the-us-since-2009/. I apply these adjustments for illustrative purposes. It is possible that some
      devices running iOS may not have been updated to iOS 14 in 2021 and 2022.


                                                          72
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disgorgement of profit damages for 2021 and 2022, respectively.253




                                                               254
                                                                     A summary of the adjustments I make to

Mr. Lasinski’s disgorgement of profit damages is shown in Exhibit 8.


X.        MR. LASINSKI’S METHODOLOGY FOR CALCULATING “ACTUAL”
          DAMAGES IS UNRELIABLE AND WOULD OVERSTATE DAMAGES

          115.     Mr. Lasinski claims that “actual damages can be determined as a function of the

payments necessary to incentivize an individual to knowingly surrender the choice to keep

activity on mobile apps private and allow an organization to track app activity data.”255 He

further opines that “the baseline payment to Screenwise Panel participants of $3 per month for

using a Screenwise meter app on a single mobile device represents a conservative indicator of

the monthly payment necessary for an individual to knowingly surrender the choice to keep their

app activity private and allow Google to track all app activity data, regardless of that individual’s

WAA or sWAA settings.”256 He claims that this $3 payment, applied




253
      See Exhibits 7A–7C.
254
      To reiterate, I do not agree with or endorse Mr. Lasinski’s damages methodology, and these recalculations
      should not indicate otherwise.
255
      Lasinski Report, ¶ 130.
256
      Lasinski Report, ¶ 131.


                                                         73
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           .257

          116.     In this section, I show that Mr. Lasinski’s methodology fails to calculate class-

wide “actual” damages because it does not represent an economically relevant measure of any

purported harm from the alleged wrongful conduct. Even if Mr. Lasinski’s methodology was a

conceptually valid measure of “actual” damages, it does not provide an adequate measure of the

alleged harm suffered by putative class members due to the alleged wrongful conduct because it

fails to consider the value of data in other data-sharing transactions in which the putative class

members may have engaged. Moreover, Mr. Lasinski’s “actual” damages methodology fails to

appropriately measure class-wide damages in this matter because it includes many unharmed

putative class members whose traffic resulted in no conversion events and/or no ad interactions,

thereby resulting in no allegedly inappropriate data collection.

          117.     Even ignoring the prior issues arguendo, Mr. Lasinski’s estimation of the amount

of “actual” damages is also unreliable and speculative because: (1) it fails to measure actual

economic harm alleged by Plaintiffs; (2) it fails to consider the value of data in other data sharing

transactions in which the putative class members may have engaged; (3) if fails to exclude users

who did not see or interact with an ad while having sWAA off; (4) it fails to account for

differences between the data at issue in this matter and the data and other activities for which

Screenwise participants are compensated, even under the assumption that the Plaintiffs suffered

economic harm; (5) it fails to account for differences in putative class members’ valuation of

their personal data and online privacy; (6) it makes an erroneous and oversimplifying assumption

about the number of users who switched the options for sWAA; (7) it relies on other irrelevant


257
      Lasinski Report, ¶ 131.


                                                    74
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examples of users’ willingness to pay to prevent data collection and research organizations’

payments for data collection that do not measure the value of the data at issue in this matter;

(8) it lacks any economic rationale for estimating the size of the proposed class as the number of

purported “Class Member Devices;” and (9) it provides an unreliable and overstated number of

“Class Member Devices” because it ignores changes to iOS policies and accounts with minimal

or no activity.


          A.      Mr. Lasinski’s “Actual” Damages Methodology Fails to Measure Actual
                  Harm

          118.    I understand from counsel that “actual” damages for invasion of privacy presume,

and compensate for, actual harm arising from the alleged wrongful conduct, e.g., emotional

distress. Applied to this matter, I understand Plaintiffs’ allegations could be associated with

emotional distress from alleged invasion of privacy.

          119.    In my review of the Lasinski Report, I have seen no evidence or indication that

Mr. Lasinski’s analysis attempts to measure or quantify actual harm experienced by any of the

putative class members in the form of emotional distress. In fact, the testimony of named

Plaintiffs corroborates that there was no such harm. If Plaintiffs had been harmed, one would

expect that they would change their behavior and interactions with mobile apps using GA4F as a

result of learning about the alleged wrongful conduct. However, as I discuss in Section VII, my

review of the named Plaintiffs’ testimony shows that these Plaintiffs did not alter their behavior

in terms of their interactions with their respective mobile devices and mobile apps that may have

used GA4F. For example, Mr. Cataldo could not identify a single behavioral change that he

implemented as a result of this understanding;258 Mr. Santiago continued to use the same apps in


258
      Cataldo Deposition, pp. 42:19–43:25.


                                                  75
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economic position absent the alleged wrongful conduct. When referring to the basis for

Plaintiffs’ claim for “actual” damages, he merely states that he understands from Plaintiffs’

counsel that this type of monetary relief is available to Plaintiffs.266

          122.    Based on Mr. Lasinski’s calculation of “actual” damages, his implied

characterization of the but-for world, i.e., putative class members’ position absent the alleged

wrongful conduct, appears to be that the data at issue would have never been collected by

Google and used for conversion measurement or providing analytics services.

          123.    However, I understand that, in many situations, there are already other entities

collecting the same or similar information as the data at issue in this matter. For example, Mr.

Ganem testified that third parties also provide similar services,267 and Google offers instructions

on how to set up conversion measurement and analytics measurement using many other

providers such as AppsFlyer, Adjust, Singular, Kochava, and Branch.268



              I am not aware that any of these third parties provide any compensation or

consideration to users in such transactions or data collection. Mr. Lasinski fails to consider the

possibility that, in a but-for world in which Google does not provide conversion measurement or

analytics measurement services using the data at issue in this matter, another party would

provide similar services to app developers and publishers without generating any compensation

or disbursement to users. As a result, putative class members’ financial position would be

unchanged in the but-for world, and actual economic damages would be zero.



266
      Lasinski Report, ¶ 69.
267
      See Ganem Deposition, pp. 27:23–28:4.
268
      See “Set up conversions from Firebase or App Attribution Partners for App campaigns for engagement,”
      Google Ads Help, available at https://support.google.com/google-ads/answer/9260620.
269
      GOOG-RDGZ-00056514–531 at 516.


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          D.       Mr. Lasinski Presents No Economic Basis for His “Actual” Damages
                   Estimate of $3 Per Class Member Device

          130.     Even assuming Mr. Lasinski’s methodology could measure “actual” damages, and

ignoring his inclusion of unharmed putative class members, Mr. Lasinski fails to provide an

economic basis for why his $3 per class member device measures on a class-wide basis the

quantum of harm that putative class members may have suffered as a result of the alleged

wrongful conduct.

          131.     Mr. Lasinski fails to provide any adequate foundation or economic analysis to

support his claim that each putative class member suffered $3 of “actual” damages per device.

As a result, his methodology to quantify class-wide damages is unreliable.

          132.     Mr. Lasinski argues that “the baseline payment to Screenwise Panel participants

of $3 per month for using a Screenwise meter app on a single mobile device [including both

smartphones and tablets] represents a conservative indicator of the monthly payment necessary

for an individual to knowingly surrender the choice to keep app activity private and allow

Google to track app activity data, regardless of that individual’s WAA or sWAA settings.”276 He

adds that “[w]hile the Screenwise compensation structure applies this $3 payment per device per

month, it is my opinion that actual damages through December 2022 can be conservatively

measured by applying this $3 payment on a one-time basis to the number of Class Member

Devices.”277

          133.     However, Mr. Lasinski does not explain why he chose this amount. For example,

his only attempt at connecting the amount of the Screenwise payment to the alleged harm in this



276
      Lasinski Report, ¶ 131.
277
      Lasinski Report, ¶ 131.


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matter is his claim that this $3 payment represents a payment necessary for an individual to

surrender the privacy of their app activity to Google regardless of their WAA settings. However,

this is at best a tenuous similarity between the alleged wrongful conduct and the relationship

between Screenwise and its panelists. As I explain below, tracking app activity is only a small

fraction of the activity of Screenwise panelists, and Mr. Lasinski makes no attempt to explain

why these two activities are comparable or why the value of the data collected from Screenwise

panelists is comparable to the value of the data at issue in this matter.

          134.     Furthermore, Mr. Lasinski provides no explanation or rationale to apply the

monthly $3 payment from Screenwise to calculate class-wide damages in this matter.

          135.     Similarly, Mr. Lasinski provides a description of other payments to internet users

related to the tracking of online activity, namely AT&T’s GigaPower campaign and payments

from two other companies—Nielsen and SavvyConnect—to participants in their respective

panels or applications.278 However, he provides no comparison to the data at issue or to

Plaintiffs’ allegations that would suggest these amounts may be an adequate measure of actual

harm in this matter. As I explain below, none of these payments are an appropriate measure of

any purported actual harm in this matter.


                   1.       Mr. Lasinski fails to distinguish the data at issue from the data collected
                            by Screenwise and other requirements imposed on Screenwise panelists

          136.     The payment that Screenwise panelists receive as compensation for their

participation most likely overstates the value of app activity data privacy for an individual. Even

if the $3 per month Screenwise payment were an appropriate starting point for “actual” damages,



278
      Lasinski Report, ¶¶ 144, 148, 150.


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Mr. Lasinski would need to reduce this value to adjust for several factors that set the data

associated with the alleged wrongful conduct in this matter apart from data collection and other

requirements associated with participation in Screenwise—factors that reasonably increase the

value and cost of Screenwise data collection. These include (i) Screenwise collecting much more

comprehensive data on its panelists than the data at issue in this case, (ii) Google’s ability to link

Screenwise data to other sources and types of data, and (iii) behavioral requirements imposed by

Screenwise on its panelists.

          137.     First, Screenwise panelists agree to send to Google a much more comprehensive

set of data about their activity on a mobile device than just the data at issue in this matter (i.e.,

mobile web and app activity data).279 For example, the data collected by Screenwise include all

browsing activity, URL data, IP addresses of visited websites, the length of time spent in each

website; information about the use of telephone, email, and text messages; and cookies or other

identifiers from a browser.280 Similarly, Screenwise collects other types of data about the user’s

device such as device identifiers, location data, data from the device’s motion sensors, data and

storage use, battery status, and information about Wi-Fi networks that the device is connected

to.281 These data are much more comprehensive that the at-issue data in this matter, which Mr.

Lasinski fails to consider.

          138.     Second, Google can link the data collected by Screenwise to other sources and

types of data that are not available from putative class members through the data associated with

the alleged wrongful conduct in this matter. This includes, for example, audio data from the


279
      Mr. Lasinski also acknowledges that participants in the Screenwise Panel “knowingly allow Google to track all
      online activity on the device.” Lasinski Report, ¶ 151, emphasis added.
280
      “Google Panel Privacy Policy,” Ipsos Screenwise Panel, available at https://screenwisepanel.com/google-panel-
      privacy-policy.
281
      “Google Panel Privacy Policy,” Ipsos Screenwise Panel, available at https://screenwisepanel.com/google-panel-
      privacy-policy.


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information associated with their profile is up to date and accurate.286 Similarly, Screenwise

imposes certain restrictions on the online activity of panelists. For example, panelists are not

allowed to use ad-blockers or any kind of “do not track” features, turn location-reporting services

off, or otherwise opt out of any kind of online advertising.287

          140.    In summary, even if the $3 payment per mobile device from Screenwise were an

appropriate starting point for “actual” damages in this matter, that figure would overestimate any

measure of actual harm due to the alleged wrongful conduct because it ignores that the $3

Screenwise payment compensates users for a multiplicity of data, activities, and restrictions that

exceed the breadth of the data at issue in this matter.


                  2.       Mr. Lasinski ignores that not all putative class members are harmed
                           equally because not all putative class members value their data equally

          141.    Mr. Lasinski’s methodology assigns a value of $3 of “actual” damages to each

“Class Member Device.” Mr. Lasinski does not make clear whether he believes that every

putative class member was harmed by the same amount or that this amount is a reasonable

estimate of the average amount of “actual” damages suffered per putative class member.

Regardless, neither of these interpretations would be consistent with economic principles and

evidence.

          142.    I understand that Dr. Ghose, another expert for Google in this matter, opines that

users’ preferences about data privacy vary not only across individuals but even over time for a

given individual, with certain users being “unconcerned” about privacy, others being



286
      “Google Panel Terms & Conditions,” Ipsos Screenwise Panel, available at https://screenwisepanel.com/google-
      panel-terms-condition.
287
      “Google Panel Terms & Conditions,” Ipsos Screenwise Panel, available at https://screenwisepanel.com/google-
      panel-terms-condition.


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“fundamentalists” of privacy, and others being “pragmatists” who evaluate the costs and benefits

of data collection.288

          143.    Therefore, the alleged harm associated with the collection of one unit of the data

at issue is likely to vary across putative class members. Moreover, it is reasonable to expect that

the amount of online activity will vary across putative class members and therefore so will the

amount of data at issue that Google received for each of them, e.g., conversion measurement

events generated by GA4F.

          144.    Lastly, as I discuss above, users receive benefits or utility from a better ad-

supported app experience as a result of Google’s activity. These benefits are also likely to vary

across individuals or putative class members. It is even possible that some users may have not

suffered a net economic harm because they value the benefits from Google’s receipt of the data

at issue more than they value the alleged loss of their private data.

          145.    Therefore, “actual” damages as contemplated by Mr. Lasinski’s methodology

would differ from one putative class member to another. However, Mr. Lasinski fails to account

for the variability in the amount of data collected from different putative class members and also

the variability in the economic benefit or harm that putative class members may have

experienced by virtue of sharing their data. Therefore, Mr. Lasinski fails to consider this

variation or to provide a methodology that estimates “actual” damages according to the harm

suffered by different putative class members.

          146.    The distribution of online users’ valuations of their privacy and data can likely be

described by an upward-sloping supply curve found in basic economics textbooks, where users



288
      See Expert Rebuttal Report of Anindya Ghose, Ph.D., May 31, 2023, Section II.A..


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with a lower valuation of their data would demand a lower payment in exchange for sharing the

data, but users with a higher valuation of their data would demand a higher price, such that the

higher a single market price is, the more users—or “sellers”— would be willing to participate.289

          147.    Therefore, to accomplish the goal of selecting a panel that is representative of the

online population at large, Screenwise must offer a high enough compensation to attract a large

enough and varied enough pool of candidates to represent the overall online population. Any

lower compensation may attract only a selected sample of panelists with a lower valuation on

privacy. This means not only that the $3 payment would overstate the average amount required

to make online users agree to participate in the panel, but also that measuring different putative

class members’ valuation of the data requires individualized inquiry.


                  3.       Mr. Lasinski makes an erroneous and oversimplifying assumption for
                           putative class members who toggled between on/off options for sWAA

          148.    Mr. Lasinski’s calculation of “actual” damages assumes that no meaningful

fraction of putative class members switch their sWAA on/off status, i.e., that the proportion of

users with sWAA off is constant throughout the proposed class period.290 As a result,

Mr. Lasinski estimates that “actual” damages are the same for every putative class member who

had sWAA off at any time during the proposed class period.




289
      Hubbard, Glenn R., and Anthony Patrick O’Brien, “Microeconomics,” Seventh Edition, Pearson, 2019, pp. 82–
      86.
290
      Lasinski Report, ¶¶ 47–49, 155.


                                                       86
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in this case, collect these data for different purposes, account for ancillary activities and not

merely the passive collection of data, and fail to measure the value of emotional distress as I

discuss in Section X.A above.

          153.     First, the Internet Preferences program essentially amounts to a discount that

AT&T offered to its broadband internet customers (in a few select areas) in exchange for

tracking their online activity to deliver tailored advertising.297 Customers could opt into a more

expensive tier of AT&T’s internet service that would exclude them from this data collection and

subsequent advertising.298 However, as an internet service provider, AT&T has access to a

unique set of demographic information from users as well as data across all of their devices and

activity, regardless of whether or not they use a Google account.299

          154.     Similarly, neither Nielsen nor SavvyConnect made payments in exchange for data

similar to those at issue in this case. These companies also collect detailed personal and

demographic information about participants such as name, gender, and other demographic

data.300 Moreover, these programs require participants to fill out information in their accounts,


297
      Auerbach, David, “Privacy Is Becoming a Premium Service,” March 31, 2015, Slate, available at
      https://slate.com/technology/2015/03/at-t-gigapower-the-company-wants-you-to-pay-it-not-to-sell-your-
      data html. See also Brodkin, Jon, “AT&T’s Plan to Watch Your Web Browsing—and What You Can Do About
      It?,” ArsTechnica, March 27, 2015, available at https://arstechnica.com/information-technology/2015/03/atts-
      plan-to-watch-your-web-browsing-and-what-you-can-do-about-it/.
298
      Brodkin, Jon, “AT&T’s Plan to Watch Your Web Browsing—and What You Can Do About It?,” ArsTechnica,
      March 27, 2015, available at https://arstechnica.com/information-technology/2015/03/atts-plan-to-watch-your-
      web-browsing-and-what-you-can-do-about-it/.
299
      Auerbach, David, “Privacy Is Becoming a Premium Service,” March 31, 2015, Slate, available at
      https://slate.com/technology/2015/03/at-t-gigapower-the-company-wants-you-to-pay-it-not-to-sell-your-
      data html. See also Hall, Gina, “AT&T to halt gathering customers’ web-browsing data, stop charging for an
      opt-out,” October 3, 2016, The Business Journals, available at
      https://www.bizjournals.com/bizjournals/news/2016/10/03/at-t-to-halt-gathering-customers-web-browsing-
      data html. See also Brodkin, Jon, “AT&T’s Plan to Watch Your Web Browsing—and What You Can Do About
      It?,” ArsTechnica, March 27, 2015, available at https://arstechnica.com/information-technology/2015/03/atts-
      plan-to-watch-your-web-browsing-and-what-you-can-do-about-it/.
300
      The Nielsen Computer and Mobile Panel to which Mr. Lasinski cites states: “Download our safe and secure
      Nielsen app or computer software on your qualified devices. … Answer our registration questions to tell us
      more about you, your household, and the devices you use.” See “Nielsen Computer and Mobile Panel,” Nielsen,
      available at https://computermobilepanel.nielsen.com/ui/US/en/sdp/landing.


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install tracking apps on their devices,301 and responding to surveys to provide additional

information. For example, the Nielsen mobile panel collects “information relating to your racial

or ethnic origin, political opinions, religious or other similar beliefs, philosophical beliefs, health

or medical conditions, or sexual orientation.”302 Therefore, payments in exchange for these data

and other activities do not represent a reliable or informative measure of “actual” damages in this

matter. Reliance on these surveys renders Mr. Lasinski’s damages methodology flawed and

unreliable (even aside from its various other flaws).


          F.      Mr. Lasinski Fails to Provide Sufficient Foundation or Economic Analysis
                  for His Estimate of the Size of the Proposed Class

          155.    Mr. Lasinski arrives at his estimate of “actual” damages by multiplying the

$3 payment from Screenwise by his estimate of the size of the proposed class.303 However, his

estimate of the size of the proposed class is unreliable and overstated.


                  1.       There is no economic rationale for estimating the size of the proposed
                           class as Mr. Lasinski’s number of Class Member Devices

          156.    Mr. Lasinski estimates the size of the proposed class as what he calls the number

of “Class Member Devices, where a single Class Member Device represents a mobile device

(smartphone or tablet) used with WAA/sWAA off at least once during the [proposed] Class

Period through December 2022.”304



301
      The Nielsen Computer and Mobile Panel to which Mr. Lasinski cites states: “Download our safe and secure
      Nielsen app or computer software on your qualified devices. … Answer our registration questions to tell us
      more about you, your household, and the devices you use.” See “Nielsen Computer and Mobile Panel,” Nielsen,
      available at https://computermobilepanel.nielsen.com/ui/US/en/sdp/landing.
302
      See “Nielsen U.S. Panel Privacy Notice Summary,” Nielsen, available at
      https://computermobilepanel.nielsen.com/ui/US/en/privacypolicyen.html. See also “How it Works,” Super
      Savvy, available at https://www.surveysavvy.com/how_it_works.
303
      Lasinski Report, ¶ 161.
304
      Lasinski Report, ¶ 152.


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          157.     There is no economic rationale to use the number of devices as the size of the

putative class. While it is true that the Screenwise panel provides compensation to participants

for each device they connect to the panel, this is consistent with the goal of incentivizing

panelists to connect all of their devices to Screenwise in order to obtain a comprehensive picture

of panelists’ online activity. But, this is irrelevant as a measure of the size of the class or the

amount of “actual” damages in this matter.

          158.     Mr. Lasinski defines “actual” damages “as a function of the payments necessary

to incentivize an individual to knowingly surrender the choice to keep activity on mobile apps

private and allow an organization to track app activity data.”305 However, he does not provide

any explanation for why class-wide damages should increase proportionally with the number of

devices that putative class members use.

          159.     There is no reasonable economic rationale for class-wide damages to increase

proportionally with what Mr. Lasinski calls the numbers of “Class Member Devices.” For

example, consider a scenario in which each putative class member owns exactly one Class

Member Device: their primary smartphone running Android. On the other hand, if every putative

class member were to split their online activity between their primary smartphone and a tablet

purely for convenience (but made no other changes in their online activity), Mr. Lasinski’s

estimated “actual” damages would double. This is incorrect because putative class members

would not suffer any additional harm in the latter scenario.

          160.     In fact, publicly available studies show that, while device usage may increase with

ownership of additional devices, the increase in usage is less than proportional to the additional




305
      Lasinski Report, ¶ 130.


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number of devices. For example, a study by market research companies show that the number of

activities performed on a smartphone by users in the U.S. does not increase with the ownership

of a second device, and it increases less than twofold when the user owns a fourth device.306

Another study shows that time spent on one device can simply be a substitute for time spent on

another device and users are shifting some of their time previously spent on tablets to time spent

on smartphones.307

          161.    Similarly, named Plaintiffs’ depositions support the argument that online activity

does not increase proportionally with device ownership and that users may seldom use secondary

devices. For example, Ms. Harvey testified that she “had some tablets” that she was not sure she

used at all, and that she owns a tablet that she used “for probably 10 minutes.”308 Similarly,

Mr. Cataldo testified that, besides his Pixel smartphone and a Blackberry, he “may have” a tablet

at work that he “[hasn’t] used in years.”309 But, Mr. Lasinski’s damages methodology would

include damages for each of these barely-used devices. Therefore, Mr. Lasinski’s methodology

cannot provide a reliable estimate of class-wide “actual” damages.


                  2.       Mr. Lasinski’s methodology cannot provide a reliable estimate of the
                           number of Class Member Devices

          162.    Even setting aside its conceptual flaws, Mr. Lasinski’s quantification of the

number of “Class Member Devices” is overstated and would therefore inflate “actual” damages.




306
      See “Multiple device ownership means more smartphone usage,” Kantar, September 23, 2021, available at
      https://cdne kantar.com/north-america/inspiration/technology/multiple-device-ownership-means-more-
      smartphone-usage.
307
      See “US Time Spent with Mobile 2019,” eMarketer, May 30, 2019, available at
      https://www.insiderintelligence.com/content/us-time-spent-with-mobile-2019.
308
      Harvey Deposition, pp. 138:6–140:10.
309
      Cataldo Deposition, p. 69:2–9.


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          163.     First, as I discuss in Section VI above, Mr. Lasinski fails to exclude users with

devices that did not allow Google to know sWAA-off status because of changes in Apple’s

policies when iOS 14 launched in September 2020. While Google may have received the data at

issue for some of these users prior to the iOS 14 update, it is reasonable to expect that Google did

not receive such data for a meaningful number of new smartphone users over that period, as

smartphone penetration rates were still increasing in the U.S. through 2021.310

          164.     Second, Mr. Lasinski adjusts his estimate of the number of putative class

members by the 84.1 percent of smartphone users with a Gmail account based on Mr. Keegan’s

survey.311 However, neither Mr. Keegan nor Mr. Lasinski considers whether any of these users

actually used their respective Gmail accounts actively during the proposed class period. Google

recently announced that it will start deleting inactive accounts, which suggests that some users in

fact do not actively use their Google accounts.312 However, Mr. Lasinski’s calculation of

“actual” damages increases by $3 for each of these users because they are included in his

calculation of the number of Class Member Devices. To the extent that some of these users have

not actively used their Google accounts during the proposed class period, Mr. Lasinski’s

methodology would overstate “actual” damages.


XI.       MR. LASINSKI’S METHODOLOGY FOR APPORTIONING DAMAGES IS
          UNRELIABLE

          165.     Mr. Lasinski proposes to apportion damages across the two classes based on

Android and Apple operating systems, and his estimation of the proportion of users signed in on


310
      See “Percentage of U.S. adults who own a smartphone from 2011 to 2021,” Statista, April 2021, available at
      https://www.statista.com/statistics/219865/percentage-of-us-adults-who-own-a-smartphone/.
311
      Lasinski Report, ¶¶ 167–168.
312
      Kricheli, Ruth, “Updating our inactive account policies,” Google, May 16, 2023, available at
      https://blog.google/technology/safety-security/updating-our-inactive-account-policies/.


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each of these platforms.313 He proposes two methods to apportion damages among members of

each class: (1) based on the number of “sWAA-Off User Months;” or (2) based on the number of

putative class members. He provides no rationale for offering two distinct apportionment

methodologies, nor does he provide guidance as to why to choose one over the other. He also

provides no rationale for why either of these methods would be appropriate for allocating

damages in this matter. In other words, his “methodology” to allocate damages is limited to

calculating two numbers and making the trivial statement that the total amount of damages can

be divided by those numbers.

          166.     Neither of these methodologies would adequately apportion damages among

putative class members because: (1) they are inconsistent with Mr. Lasinski’s proposed

methodology to calculate “actual” damages—which is based on “Class Member Devices;” (2)

they ignore heterogeneity among different putative class members with respect to the volume

and quality of data received by Google; and (3) it provides an incomplete and unreliable

methodology to estimate and attribute Mr. Lasinski’s estimated “sWAA-Off User Months” to

putative class members.


          A.       Mr. Lasinski’s Proposed Methodology to Apportion Damages Among
                   Putative Class Members Is Inconsistent with His Own Methodology to
                   Calculate Damages

          167.     Mr. Lasinski proposes to apportion damages based on either the number of

“sWAA-Off User Months” or the number of putative class members. However, he calculates

putative-class-wide “actual” damages by applying a $3 payment to the number of “Class

Member Devices,” regardless of the number of months during which an account is in sWAA-off



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      Lasinski Report, ¶ 164.


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status. This incongruence between Mr. Lasinski’s methodologies to calculate and allocate

damages reflects not only the general lack of support for his methodologies but also creates

scenarios where putative class members could be vastly over- or undercompensated relative to

their notional contribution to Mr. Lasinski’s calculation of damages. For example, a putative

class member who owned a single device through the entire proposed class period and had

sWAA turned off the entire time would contribute $3 to Mr. Lasinski’s calculation of “actual”

damages, while another putative class member who acquired a smartphone and a tablet for the

first time in December 2022 and used those devices occasionally with sWAA off, would

contribute $6 to Mr. Lasinski’s calculation of “actual” damages. However, these two putative

class members would be compensated equally under Mr. Lasinski’s “class member” method.

But, the first putative class member, who contributed half as much to Mr. Lasinski’s calculation

of “actual” damages, would receive a compensation several times higher under Mr. Lasinski’s

“sWAA-Off User Months” method.


       B.      Mr. Lasinski’s Methodology to Apportion Damages Ignores Heterogeneity
               Among Different Putative Class Members with Respect to the Volume and
               Quality of Data Received by Google

       168.    Both of Mr. Lasinski’s methods of allocating damages fail to account for

differences in the volume and quality of the data at issue that Google may have received and thus

fail to compensate putative class members in proportion to either the “actual” damages they may

have suffered or in proportion to their contribution to Google’s profit allegedly subject to

disgorgement. While Mr. Lasinski’s “sWAA-Off User Months” methodology would seemingly

increase a putative class member’s allocation of damages based on a measure that may correlate

with how long they used their mobile device(s) with sWAA off, this is only one of the many

dimensions of this heterogeneity. Google likely would have received substantially more of the


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data at issue for some putative class members than others based on the type and amount of their

activity while having sWAA off, e.g., based on whether and how they may have interacted with

ads that generated conversion measurement events. Neither of Mr. Lasinski’s allocation methods

consider users’ levels of activity.


          C.       Mr. Lasinski’s “sWAA-Off User Months” Methodology Is Incomplete and
                   Unreliable

          169.     Mr. Lasinski claims that the total amount of either disgorgement of profit

damages or “actual” damages “[could] be distributed to [putative] Class members in the claims

administration process as a function of the number of sWAA-Off User Months deemed

attributable to each [putative] Class member.”314

          170.     However, Mr. Lasinski provides no methodology to attribute “sWAA-Off User

Months” to each putative class member or even any insight of how he or a claims administrator

would accomplish this. Without a methodology to attribute his estimate of over three billion

“sWAA-Off User Months” to putative class members, Mr. Lasinski fails to provide any method

to allocate a specific amount of damages to each putative class member. As such, Mr. Lasinski’s

methodology to allocate damages is incomplete and inapplicable as proposed.


                   May 31, 2023




                                                           __________________________________

                                                                Christopher R. Knittel, Ph.D.



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      Lasinski Report, ¶ 174.


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                                    APPENDIX A
                                 CURRICULUM VITAE

                           CHRISTOPHER ROLAND KNITTEL
                               Sloan School of Management
                            Massachusetts Institute of Technology
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                                  Cambridge, MA 02142
                                   Office: 617-324-0015
                                    Fax: 617-258-6786
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CURRENT APPOINTMENTS:
 2016-present, George P. Shultz Professor, Massachusetts Institute of Technology
 2011-present, Professor of Applied Economics, Sloan School of Management, MIT
 2022-present, Area Head for Economics, Finance, and Accounting, MIT Sloan
 2012-present, Director, Center for Energy and Environmental Policy Research, MIT
 2022-present, Deputy Director for Policy, MIT Energy Initiative
 2013-present, Faculty Co-Director, The E2e Project, MIT, UCB, University of Chicago
 2013-present, Associate Scholar, Harvard Environmental Economics Program
 2007-present, Research Associate, National Bureau of Economic Research Groups:
 Environmental Economics and Energy, Industrial Organization, and Productivity
 2007-present, Associate Editor, The Journal of Energy Markets
 2013-present, Associate Editor, The Journal of Transportation Economics and Policy
PREVIOUS APPOINTMENTS:
 2011-2016, William Barton Rogers Professor of Energy Economics, Sloan School of
 Management, Massachusetts Institute of Technology
 2017-2022, Co-Director, Electric Power Systems Low Carbon Energy Center, MIT
 2015-2018, Group Head, Applied Economics Group, Sloan School of Management
 2014-2018, Co-Editor, Journal of Public Economics
 2007-2013, Associate Editor, American Economic Journal – Economic Policy
 2006-2012, Associate Editor, The Journal of Industrial Economics
 2006-2011, Associate Professor of Economics, University of California, Davis
 2003-2011, Visiting Research Fellow, University of California Energy Institute
 2005-2011, Faculty Affiliate, Institute of Transportation Studies, UC Davis
 2006-2011, Strategy and Policy Thread Leader for STEPS
 2008-2010, Member, Economic and Allocation Advisory Committee for AB32’s cap-and-
 trade program, State of California
 2008-2011, Chancellor’s Fellow, University of California, Davis
 2002-2006, Assistant Professor of Economics, University of California, Davis
 2004-2007, Faculty Research Fellow, National Bureau of Economic Research.
 Groups: Environmental Economics and Energy, Industrial Organization, and Productivity

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 1999-2002, Assistant Professor of Finance and Economics, School of Management, Boston
 University
 1996-1999, Research Assistant, University of California Energy Institute
 1994-1996, Teaching Assistant, University of California, Davis
EDUCATION:
 Ph.D., University of California, Berkeley, 1999 (Economics)
 M.A., University of California, Davis, 1996 (Economics)
 B.A., California State University, Stanislaus, summa cum laude, 1994 (Economics and
 Political Science)

PUBLICATIONS:

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      Canadian Journal of Economics, 55(3), August 2022.
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      “Attribute Substitution in Household Vehicle Portfolios.” The RAND Journal of
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     Coefficient Demand Models: Two Empiricists’ Perspective.” The Review of Economics
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     Technological Progress in the Automobile Sector.” The American Economic Review,
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     Knittel, Christopher R. “Market Structure and the Pricing of Electricity and Natural
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     Knittel, Christopher R. “Alternative Regulatory Methods and Firm Efficiency:
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     Borenstein, Severin, James Bushnell, and Christopher R. Knittel. “Market Power in
      Electricity Markets: Beyond Concentration Measures,” The Energy Journal, 20(4),
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     Knittel, Christopher R. “Interstate Long Distance Rates: Search Costs, Switching Costs,
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      536.
WORKING PAPERS:
     Cole, Cassandra, Michael Droste, Christopher R. Knittel, Shanjun Li, and James H.
      Stock. “Policies for Electrifying the Light-Duty Vehicle Fleet in the United States.”
     Dimanchev, Emil and Christopher R. Knittel. “Designing Climate Policy Mixes:
      Analytical and Energy Systems Modeling Approaches.” Revisions requested from The
      Energy Journal.
     Burger, Scott P., Christopher R. Knittel, and Ignaco J. Perez-Arriaga. “Quantifying the
      Distributional Impacts of Rooftop Solar PV Adoption Under Net Energy Metering.”
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     Green, Tomas and Christopher R. Knittel. “Distributed Effects of Climate Policy: A
      Machine Learning Approach.”
     Knittel, Christopher R. and Sam Stolper. “Using Machine Learning to Target Treatment:
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      Economic Journal.
     Knittel, Christopher R. and Bora Ozaltun. “What Does and Does Not Correlate with
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     Knittel, Christopher R. and Elizabeth Murphy. “Generational Trends in Vehicle
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     Busse, Meghan, Christopher R. Knittel and Florian Zettelmeyer. “Did `Cash for
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     Busse, Meghan, Christopher R. Knittel and Florian Zettelmeyer. “Stranded Vehicles:
      The Incidence of Gasoline Taxes Through the Lens of Vehicle Values.”
AWARDS, HONORS, AND GRANTS:
     National Science Foundation (with Anuradha Annaswamy and Ignacio Perez-Arriaga).
      2014-2017, $1,783,855
     Graham and Dodd Award of Excellence, from Financial Analyst Journal, 2010.
     Tom Mayer Distinguished Teaching Award, 2010
     Chancellor’s Fellowship, UC Davis (one of five faculty members), 2008
     Barry D. McNutt Award for Excellence in Automotive Policy Analysis (with Jonathan
      Hughes and Dan Sperling), 2008
     National Science Foundation Grant (with Victor Stango), 2008-2010, $240,000
     Chevron Bio-Fuel Research Grant, 2007-2008, $127,000
     Chevron Bio-Fuel Research Grant, 2007-2008, $77,000
     Chevron Bio-Fuel Research Grant (Co-PI), 2007-2009, $370,000
     Woods Institute for the Environment Leadership Scholar Training, 2007
     Distinguished Paper, 2006 Academy of Finance
     University of California Energy Institute Research Grant, 2005-2006, $50,000
     Best Paper Award for the 31st NBEA Conference
     ASUCD Excellence in Teaching Award, 2004
     University of California Energy Institute Research Grant, 2003
     Faculty Research Grant, UC Davis, 2002, 2003, 2004, 2005, 2006
     Institute of Governmental Affairs Junior Faculty Grant, 2002, 2003, 2004, 2005
     Junior Faculty Research Grant, Boston University, 2001
     Graduate Fellowship, University of California, Berkeley, 1997–1999
     Graduate Fellowship, University of California, Davis, 1994–1996
     Institute of Transportation Fellow, University of California, Davis, 1995–1996
     Student Commencement Speaker, California State University, Stanislaus, 1994
REFEREE SERVICES:
 Agricultural Economics, American Economic Review, Bulletin of Economic Research,
 Census Bureau, Econometrica, Economic Inquiry, The Economic Journal, Economics
 Letters, Energy Economics, The Energy Journal, Energy Studies Review, European
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 Economics, Southern Economic Journal, Socio-Economic Planning Sciences, Utilities
 Policy, University of California Energy Institute Grant Program, NSF Grant Program
REGULATORY FILINGS:
     Arons, S.M., A.R. Brandt, M.A. Delucchi, A. Eggert, A.E. Farrell, B.K. Haya, J.
      Hughes, B.M. Jenkins, A.D. Jones, D.M. Kammen, S.R. Kaffka, C.R. Knittel, D.M.
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      New Jersey Public Utility Commission as testimony on the potential for market power
      in a deregulated Pennsylvania-Jersey-Maryland Power Pool.
PH.D. AND M.A. COMMITTEES (FIRST JOB):
 Harvard:
 Shefali Khanna (on going)
 Jing Li (MIT)

 MIT:
 Nestor Sepulveda (Nuclear Science, McKinsey)
 Andre Besio (MA, Engie)
 Bora (MA, Microsoft)
 Benny Ng (MA, Microsoft)
 Sruthi Davuluri (MA, E3)
 Scott Burger (MIT)
 Nick Hagerty (UCB)
 Stephen Zoepf (MIT)
 Ricardo Charles (MA, DOE)
 Parisa Bastini (Cambridge University)

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 Donald MacKenzie (University of Washington)
 Jennifer Peck (Swarthmore)

 UC Davis:
 Anson Soderbery (Purdue University)
 Nick Sanders (chair, SIEPR Post Doc, Stanford University)
 Chia-Wen Chen (chair, on-going)
 Chenguang Li (University of Wisconsin)
 Jonathan Hughes (chair, University of Colorado, Boulder)
 Adib Bagh (University of Kentucky, Math and Economics)
 Seungjoon Lee (Korean Insurance Research Institute)
 Jason Lepore (chair, Cal Poly)
 Wei-Min Hu (Peking University)
 Byeongil Ahn (Gyeongsang University)
 Konstantinos Metaxoglou (chair, Bates and White LLC)
 Lan Li (University of Melbourne)
 Neil Norman (Cornerstone Research)
 Dae-Wook Kim (chair, Korean Institute for Industrial Economics and Trade)
 Boston University:
 Gustavo Genoni (2002, Finance, IAE, School of Business, Universidad Austral)
 John Neumann (2003, Finance, St. John’s University)
TEACHING:
     MIT
             o Energy Economics and Policy, MBA (10 times)
                    Rating: Mean 6.66/Median 7 (out of 7)
                    Sloan Rating: 4.8 out of 5
             o Energy Economics and Policy, Undergraduate (9 times)
                    Rating: Mean 6.66/Median 7 (out of 7)
             o Applied Economics for Manager, Executive MBAs (4 times)
                    Rating: Mean 6.44/Median 7 (out of 7)
                    Sloan Rating: 4.7 out of 5
     UC Davis
             o Graduate Empirical Industrial Organization (6 times)
                    Ratings: Mean 4.9 (out of 5)
             o Transportation Economics (4 times)
                    Ratings: Mean 4.7
             o Intermediate Microeconomics (1 time),
                    Ratings: Mean 4.8
             o Undergraduate Industrial Organization (9 times)
                    Ratings: Mean 4.8
     Boston University
             o Modeling Business Decision Making (3 times)
                    Ratings: 4.7 (out of 5)
             o Modeling Business Decision Making (honors, 2 times),
                    Ratings: 4.8


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UNIVERSITY SERVICE:
 MIT:
 Variety of personnel committees
 Executive Personnel Committee, 2020-present
 Asia Business School Board of Governors, 2019-present
 Energy Minor Oversight Committee, 2011-present
 Energy Education Task Force, 2011-present
 Executive Education Committee, 2018-2020

 UC Davis:
 2007-2008, Co-writer (with Jean VanderGheynst) of a proposal for a Graduate Program in
 "Energy Science and Technology" and "Energy Policy and Management"
 2006-Present, Member, Energy Institute Steering Committee
 2008, Founding Faculty Member, UC Davis Energy Institute
 2005-2006, Hiring Committee and Interviewing Committee
 2004-2005, Hiring Committee and Interviewing Committee
 2002-2003, Hiring Committee and Interviewing Committee
 2002-2007, Graduate Advisor
 Oral committees: Dae-Wook Kim, Konstantinos Metaxoglou, Neil Norman (chair),
 Seungjoon Lee, Wei-Min Hu, Lan Li (ARE), Sunhwa Lee, Byeongil Ahn (ARE), Michele
 Amaral, David Ong, Adib Bagh, Jason Lepore, Bei Li, Chenguang Li (ARE), Tina Saitone
 (ARE), Carlo Russo (ARE), Sandhya Patlolla (ARE), Jon Hughes (TTP), Peter Huckfeldt,
 Kyungwon Rho, Nick Sanders, Chia-Wen Chen, Joeri de Witt (ARE), In-Sung Lee (TTP),
 Anson Soderbery, Nils Johnson (TTP), David McCollum (TTP)

 Boston University:
 2000-2001, Finance Hiring Committee and Interviewing Committee
 1999-2000, Finance Hiring Committee
DEPOSITIONS AND LEGAL TESTIMONY IN THE LAST FOUR YEARS:
     The People of the State of California vs. Vitol Inc.; SK Energy Americas, Inc.; SK Trading
      International Co., Ltd.
      Superior Court of the State of California for the County of San Francisco
      Case No. CGC-20-584456
      Role: Deposition (April 25, 2023)
     Jeffrey Koenig, on behalf of himself and all others similarly situated, vs. Vizio, Inc.
      Superior Court of the State of California for the County of Los Angeles
      Case No. BC702266
      Role: Deposition (December 14, 2021)
     Economic Regulation Authority v. Electricity Generation and Retail Corporation (t/a
      Synergy)
      Western Australia Electricity Review Board
      Application 1/2019
      Role: Expert Testimony (May 13, 2021)




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Expert Reports and Legal Documents
• Anibal Rodriguez, Sal Cataldo, Julian Santiago, and Susan Lynn Harvey, individually and on behalf of all other
  similarly situated, v. Google, LLC, Fourth Amended Complaint, 3:20-cv-04688-RS, January 4, 2023.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Fourth Supplemental Responses and Objections to Plaintiffs’ Interrogatories, Set
  One, 3:20-cv-04688, November 5, 2021.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Second Supplemental Responses and Objections to Plaintiffs’ Interrogatories, Set
  Two, 3:20-cv-04688, August 16, 2021.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Second Supplemental Responses and Objections to Plaintiffs’ Interrogatories, Set
  Three, 3:20-cv-04688, October 31, 2022.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Responses to Plaintiffs’ Interrogatories, Set Four, 3:20-cv-04688, July 21, 2021.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Objections to Plaintiffs’ Interrogatories, Set Five, 3:20-cv-04688, October 25, 2021.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Second Supplemental Objections and Responses to Plaintiffs’ Interrogatories, Set
  Six, 3:20-cv-04688, February 14, 2023.
• Anibal Rodriguez and Julie Anna Muniz, individually and on behalf of all other similarly situated, vs. Google LLC,
  et al., Defendant Google LLC’s Objections and Responses to Plaintiffs’ Interrogatories, Set Seven, 3:20-cv-04688,
  October 31, 2022.
• Expert Rebuttal Report of Anindya Ghose, Ph.D., May 31, 2023.
• Expert Report of Donna L. Hoffman, May 31, 2023.
• Expert Report of Jonathan E. Hochman, March 22, 2023.
• Expert Report of Michael J. Lasinski, and materials considered, February 20, 2023.

Depositions
• Deposition of Anibal Rodriguez, October 16, 2022.
• Deposition of Arne De Booij, February 7, 2023.
• Deposition of Belinda Langner, December 15, 2022.
• Deposition of Christopher Ruemmler, September 9, 2022.
• Deposition of Daniel Stone, November 15, 2022.
• Deposition of David Monsees, September 15, 2022.
• Deposition of Edward Weng, September 23, 2022.
• Deposition of Eric Miraglia, October 25, 2022.
• Deposition of Francis Ma, October 28, 2022.
• Deposition of Greg Fair, October 3, 2022.
• Deposition of Julian Santiago, March 7, 2022.
• Deposition of Rahul Oak, November 18, 2022.
• Deposition of Sal Cataldo, February 17, 2022.
• Deposition of Sam Heft-Luthy, February 8, 2023.
• Deposition of Steve Ganem, October 28, 2022.
• Deposition of Susan Harvey, October 29, 2022.
• Deposition of Xinyu Ye, February 9, 2023.




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                                              Materials Considered

Bates Stamped Documents
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• GOOG-RDGZ-00187249–303.
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• GOOG‑RDGZ‑00187623.
• GOOG-RDGZ-00187665.
• GOOG-RDGZ-00187666.
• GOOG-RDGZ-00188469–491.
• GOOG-RDGZ-00188655.
• GOOG-RDGZ-00188768.
• GOOG-RDGZ-00196222–259.
• GOOG-RDGZ-00199151–191.
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Publicly Available Documents (Cont’d)
• “About Display ads and the Google Display Network,” Google Ads Help, available at
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  ads/answer/6357635.
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  ads/answer/10081327?hl=en.
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• “Automated bid strategy: Definition,” Google Ads Help, available at https://support.google.com/google-
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• “Best practices guide: Drive better performance and measurement for iOS App campaigns,” Google Ads Help,
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• “Choose your bid and budget,” Google Ads Help, available at https://support.google.com/google-
  ads/answer/2375454?hl=en.
• “Click: Definition,” Google Ads Help, available at https://support.google.com/google-ads/answer/31799?hl=en.
• “Cloud Connect: Google Apps,” Google Help Center, available at
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• “Consumers care about sustainability—and back it up with their wallets,” McKinsey and Company, February 6,
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  about-sustainability-and-back-it-up-with-their-wallets.
• “Conversion tracking: Definition,” Google Ads Help, available at https://support.google.com/google-
  ads/answer/6308?hl=en.
• “Conversion: Definition,” Google Ads Help, available at https://support.google.com/google-ads/answer/6365.
• “DSP, SSP, and Ad Exchange: What is the Difference?,” AARKI, available at https://www.aarki.com/insights/dsp-
  ssp-and-ad-exchange-what-is-the-difference.
• “Earn more revenue with your apps,” Google AdMob, available at https://admob.google.com/home/.
• “Events,” Google Tags, available at https://developers.google.com/tag-platform/devguides/events.
• “FAQ,” Google Ads, available at https://ads.google.com/intl/en_id/home/faq/.
• “Find the Google Play Store app,” Google Play Help, available at
  https://support.google.com/googleplay/answer/190860?hl=en.
• “Firebase,” Firebase, available at https://firebase.google.com/.
• “First click, linear, time decay, and position-based attribution models are going away,” Google Ads Help, April 6,
  2023, available at https://support.google.com/google-ads/answer/13427716?hl=en.



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• “Get started with AdMob in your iOS project,” Firebase, available at
  https://firebase.google.com/docs/admob/ios/quick-start.
• “Get the Most Out of Your Bid in the Facebook Ad Auction,” Facebook Business, January 16, 2018, available at
  https://webcache.googleusercontent.com/search?q=cache%3AKbNJo6yNpVkJ%3Ahttps%3A%2F%2Fwww.faceboo
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• “Google AdMob ad revenue attribution configuration,” AppsFlyer Help Center, May 14, 2023, available at
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• “Google Analytics for Firebase Free and unlimited app analytics,” Firebase, available at
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• “Google Panel Privacy Policy,” Ipsos Screenwise Panel, available at https://screenwisepanel.com/google-panel-
  privacy-policy.
• “Google Panel Terms & Conditions,” Ipsos Screenwise Panel, available at https://screenwisepanel.com/google-panel-
  terms-condition.
• “How AdMob works,” Google AdMob Help, available at https://support.google.com/admob/answer/7356092?hl=en.
• “How Google Play works,” Google Play, available at https://play.google.com/about/howplayworks/.
• “How it Works,” Super Savvy, available at https://www.surveysavvy.com/how_it_works.
• “Impressions: Definition,” Google Ads Help, available at https://support.google.com/google-ads/answer/6320?hl=en.
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• “Manual CPC Bidding,” Google Ads Help, available at https://support.google.com/google-
  ads/answer/2390250?hl=en.
• “Market share of leading mobile operating systems in Europe from 2010 to 2021,” Statista, January 2022, available
  at https://www.statista.com/statistics/639928/market-share-mobile-operating-systems-eu/.
• “Market share of mobile operating systems in the United States from January 2012 to March 2023,” Statista, March
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• “Multi-Touch Attribution: What It Is & How To Use It,” Marketing Evolution, July 20, 2022, available at
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• “Nielsen Computer and Mobile Panel,” Nielsen, available at
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• “Nielsen U.S. Panel Privacy Notice Summary,” Nielsen, available at
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                                                                     Highly Confidential — Attorneys’ Eyes Only

                                                    Appendix B
                                                Materials Considered

Publicly Available Documents (Cont’d)
• “Overview of apps with Ad Manager,” Google Ad Manager Help, available at
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• “Percentage of U.S. adults who own a smartphone from 2011 to 2021,” Statista, April 2021, available at
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